Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 1 of 67 PageID 677



                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION



      STEPHEN ALLEN WHITTIER,

                 Petitioner,
      v.                                      CASE NO.: 3:10-cv-166-J-34TEM

      SECRETARY, DEPT. OF CORR.,
      ET. AL.,

                 Respondents.



               ANSWER TO PETITION FOR WRIT OF HABEAS CORPUS

           Respondents, Michael D. Crews,1 Secretary of the Florida

   Department of Corrections, and Pamela Jo Bondi, Attorney General

   of the State of Florida (hereinafter referred to as Respondents

   or the State), by and through their undersigned counsel, and

   pursuant to Rule 5, Rules Governing Section 2254 Cases, responds

   to this Court’s order to show cause and states:

           This response is submitted pursuant to McBride v. Sharpe,

   25 F.3d 962 (11th Cir. 1994). The State of Florida does not

   concede or waive exhaustion as to any and all claims presented

   and asserts all procedural bars and defenses available to it. 28

      1
       The Honorable Michael D. Crews is substituted as the
proper party respondent for Kenneth S. Tucker, pursuant to
Federal Rule of Civil Procedure Rule 25(d).
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 2 of 67 PageID 678



   U.S.C. § 2254(b)(3). The State has found no record of United

   States District Court Judge Marcia Morales Howard or United

   States Magistrate Judge Thomas E. Morris having been involved in

   any state court proceedings in this case.

                            A. Motion to Dismiss

         On October 21, 2010, Respondents filed a Motion to Dismiss

   Petitioner’s amended § 2254 petition on the ground that it is

   untimely under the Anti-Terrorism and Effective Death Penalty

   Act (AEDPA) and, as there is no demonstration of entitlement to

   equitable tolling, it must be dismissed with prejudice. (Doc.

   15). On August 13, 2012, this Court denied Respondents’ motion

   to dismiss without prejudice and further directed Respondents to

   respond to the merits of Petitioner’s claims. (Doc. 29).

         Respondents maintain their position set out in their Motion

   to Dismiss that Petitioner’s amended § 2254 petition is untimely

   under the AEDPA and must be dismissed with prejudice. (Doc. 15).

   In support of dismissal, Respondents further rely upon Jones v.

   Sec’y, Fla. Dept. of Corr., 2012 WL 6028995 (11th Cir. Dec. 5,

   2012)(unpublished)(provided as “Ex. 48”), in which the Eleventh

   Circuit expressly recognized that “... Florida law requires that

   Rule 3.850 post-conviction motions be signed by the defendant

   and contain the defendant’s oath[]” and, therefore, Jones’ 3.850

   motion was not “properly filed” within the meaning of 28 U.S.C.

   § 2244(d)(2). Id. at *1. The Eleventh Circuit then went on to


                                      -2-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 3 of 67 PageID 679



   find no error in the district court’s determination that Jones

   was not entitled equitable tolling, explaining:

      The untimeliness of Jones’s § 2254 petition resulted from
      his counsel’s simple negligence in failing to have Jones
      sign and properly verify the state post-conviction
      motions. See Holland v. Florida, 560 U.S. ––––, ––––, 130
      S.Ct. 2549, 2564, 177 L.Ed.2d 130 (2010)(“[A] garden
      variety claim of excusable neglect, such as a simple
      miscalculation that leads a lawyer to miss a filing
      deadline, does not warrant equitable tolling.” (internal
      quotation marks and citation omitted)).

   Id. at *5.

                           B. PROCEDURAL HISTORY

         Arrested July 17, 2002, (Ex. 30), Petitioner was charged by

   Information with committing on that date: Count 1 - robbery with

   a firearm; and Count 2 - possession of a short-barreled shotgun.

   (Ex. 1); §§ 775.087; 790.221(1); 812.13(2)(a), Fla.Stat. (2002).

   On August 16, 2002, the State gave notice that it had provided

   the defense with “Bank video tape” in discovery. (Ex. 31). On

   Petitioner’s motion, by orders rendered August 28, 2002 and

   September    10,   2002,    “Community    Behavioral    Services”    was

   appointed to examine Petitioner to assist the defense in the

   preparation of its case. (Ex 32). By report dated September 11,

   2002, Dr. Larry Neidigh, Ph.D., of Community Behavioral Services

   stated his opinion that based on his evaluation of Petitioner,

   he was not competent to proceed and that the issue of his sanity

   at the time of the offense should be deferred. (Ex. 33). By

   order of the circuit court rendered October 7, 2002, Petitioner


                                      -3-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 4 of 67 PageID 680



   was adjudged incompetent to proceed and was committed to the

   custody of the Department of Children and Families (DCF) for

   treatment to attain competence. (Ex. 2). By letter dated March

   27, 2003, and attached competency evaluation, DCF notified the

   circuit court that Petitioner was competent to proceed and no

   longer met the criteria for involuntary commitment. (Ex. 19:

   “Exhibit Q”). On April 17, 2003, Petitioner was discharged from

   involuntary commitment. (Ex. 34). On Petitioner’s motion, by

   order rendered April 25, 2003, Dr. Ernest Miller, M.D., was

   appointed to examine Petitioner to assist the defense in the

   preparation of its case. (Ex. 35). By report dated July 28,

   2003, Dr. Ernest Miller, M.D., stated his opinion that based on

   his evaluation of Petitioner, he was competent to proceed. (Ex.

   19: “Exhibit O”). On Petitioner’s motion, by order rendered

   August 27, 2003, Dr. Umesh Mhatre, M.D., was appointed to

   examine Petitioner to assist the defense in the preparation of

   its case. (Ex. 36). By report dated September 1, 2003, Dr. Umesh

   Mhatre, M.D., stated his opinion that based on his evaluation of

   Petitioner, he was competent to proceed and knew right from

   wrong at the time of the offense. (Ex. 19: “Exhibit P”). At

   proceedings held November 6, 2003, based on the report of Dr.

   Mhatre, the defense and the State stipulated to Petitioner’s

   competency and the circuit court adjudged him competent to

   proceed. (Ex. 3). Written order adjudging Petitioner mentally


                                      -4-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 5 of 67 PageID 681



   competent    was   rendered   that   day.   (Ex.   4).   On   Petitioner’s

   motion, by order rendered March 5, 2004, Dr. Harry Krop, was

   appointed to examine Petitioner to assist the defense in the

   preparation of its case. (Ex. 37). Petitioner’s motion for

   continuance filed March 22, 2004, seeking further time for Dr.

   Krop to obtain Petitioner’s records “in order for Dr. Krop to

   conduct a follow up evaluation regarding the issue of insanity

   at the time of the offense” was granted. (Ex. 38).

         By amended Information filed March 25, 2004, in addition to

   previously charged Counts 1 and 2, Petitioner was charged in an

   additional Count 3 with possession of a firearm by a convicted

   felon. (Ex. 5); § 790.23, Fla.Stat. (2002).          On M a y 5 , 2 0 0 4 ,

   Petitioner filed a motion to sever Count 3 from trial of Counts

   1 and 2. (Ex. 6). At proceedings held June 1, 2004, and by order

   rendered that date, Petitioner’s motion to sever was granted.

   (Ex. 6; 39). Also on June 1, 2004, the State filed its first

   motion in limine with memorandum of law seeking to prohibit

   Petitioner from presenting evidence of a mental health defense

   or of voluntary intoxication. (Ex. 40). The State’s first motion

   in limine was heard at these June 1, 2004 proceedings and

   completed at proceedings held June 29, 2004. (Ex. 39; 40).             The

   trial court granted the State’s first motion in limine with

   order rendered June 29, 2004. (Ex. 39; 40).

         Jury trial proceedings on Counts 1 and 2 of the amended


                                        -5-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 6 of 67 PageID 682



   Information    commenced    on   September   14,     2004   and    concluded

   September 16, 2004. (Ex. 29; 29A). Petitioner was found guilty

   of robbery with a firearm as charged in Count 1 and guilty of

   possession of a short-barreled shotgun as charged in Count 2.

   (Ex. 7; 29). On September 28, 2004, Petitioner filed a motion

   for new trial, (Ex. 41), which was denied at commencement of

   sentencing    proceedings   on   November    1,     2004.   (Ex.   41;   42).

   Petitioner was sentenced on Count 1 to a term of 20-years’

   incarceration followed by 10-years’ probation, with a 10-year

   mandatory minimum for use of a firearm, and on Count 2 to a

   concurrent term of 15-years’ incarceration, and given 838-days

   credit time served on each count. (Ex. 8; 42).

         Petitioner initiated an appeal therefrom, filing notice to

   the Florida First District Court of Appeal (First DCA). (Ex. 9);

   Fla.R.App.P.    9.110(b).    Through     counsel,    Petitioner     filed   a

   motion to correct sentencing error in the trial court pursuant

   to Fla.R.Crim.P. 3.800(b)(2), (Ex. 43), which was summarily

   denied by order rendered April 19, 2005. (Ex. 29). Through

   counsel, Petitioner filed an initial brief in the appellate

   court, (Ex. 45), the state filed an answer brief, (Ex. 46), and

   Petitioner filed a reply brief. (Ex. 47). The Florida First DCA

   per curiam affirmed Petitioner’s           judgement and sentence on

   September 30, 2005 without opinion. (Ex. 10); Whittier v. State,

   912 So.2d 1222 (Fla. 1st DCA 2005)(table).



                                      -6-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 7 of 67 PageID 683



          Thereafter, Petitioner filed a post-conviction motion in

   the state circuit court pursuant to Fla.R.Crim.P. 3.850 through

   counsel on Thursday, December 14, 2006. (Ex. 11).2 Also on

   December 14, 2006, Petitioner filed a motion for competency

   evaluation, (Ex. 12), and motion seeking ninety-days leave to

   amend the Rule 3.850 motion. (Ex. 13). On March 14, 2007,

   Petitioner filed a second motion seeking ninety-days leave to

   amend the Rule 3.850 motion. (Ex. 14). On June 12, 2007,

   Petitioner filed a third motion seeking leave to amend. (Ex.

   15). Petitioner        filed an amended Fla.R.Crim.P. 3.850 post-

   conviction motion on October 12, 2007. (Ex. 16). Thereafter, on

   July 16, 2008, Petitioner filed a motion to direct the State to

   file a response to the amended 3.850 motion. (Ex. 17).

          On   September     16,   2008,       the    circuit   court     denied

   Petitioner’s motion for a competency evaluation, (Ex. 18), and

   by separate order summarily denied his amended 3.850 post-

   conviction     motion    without     evidentiary     hearing.   (Ex.      19).

   Petitioner filed a motion for rehearing, (Ex. 20), which was

   summarily denied. (Ex. 21). Petitioner filed notice of appeal

   therefrom to the First DCA. (Ex. 22); Fla.R.App.P. 9.110(b).

   Through     counsel,    Petitioner   filed    an   initial   brief   in    the



      2
       As Petitioner was represented by counsel throughout ALL
3.850 post-conviction proceedings in the state circuit and
appellate courts, he is not entitled to the benefit of the
mailbox rule with respect to any filing therein.

                                         -7-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 8 of 67 PageID 684



   appellate court, (Ex. 23), and the State filed notice it would

   not file an answer brief. (Ex. 24); Fla.R.App.P. 9.141(b). On

   September 23, 2009, the First DCA issued an order for the State

   to show cause to which the State filed a response, (Ex. 25), and

   to which Petitioner filed a “reply brief”. (Ex. 26). On December

   15, 2009, the First DCA per curiam affirmed the circuit court’s

   summary denial of Petitioner’s rule 3.850 post-conviction motion

   without opinion. (Ex. 27); Whittier v. State, 26 So.3d 586 (Fla.

   1st DCA 2009)(table). Petitioner’s motion for rehearing was

   denied without comment, (Ex. 28); Mandate issued February 9,

   2010. (Ex. 27).

         On June 29, 2012, by mailbox rule Petitioner filed a pro se

   motion in the state circuit court pursuant to Fla.R.Crim.P.

   3.850 claiming entitlement to relief pursuant to Lafler v.

   Cooper, --- U.S. ---, 132 S.Ct. 1376, 182 L.Ed.2d 398 (2012).

   (Ex. 49). By order rendered September 17, 2012, the circuit

   court denied this Rule 3.850 motion as untimely and successive.

   (Ex. 50). Petitioner appealed therefrom to the Florida First

   DCA, (Ex. 51), filing a pro se initial brief in the appellate

   court by mailbox rule on October 17, 2012. (Ex. 52). The State

   filed notice to the appellate court that it would not file an

   answer brief. (Ex. 53). As of this filing (December 28, 2012),

   Petitioner’s    appeal   thereof   by    the   state   circuit   court   is

   currently pending in the Florida First DCA in case number 1D12-


                                      -8-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 9 of 67 PageID 685



   4895.3 (Ex. 54).

                                     C. MERITS

          Per the August 13, 2012 Order of this Court, Respondents

   respond   below    to    the   merits    of    those   claims    asserted       by

   Petitioner in the amended § 2254 petition. (Ex. 29).

          The AEDPA requires that “[a]n application for writ of

   habeas corpus on behalf of a person in custody pursuant to the

   judgement of a State court shall not be granted unless it

   appears   that    ...    the   applicant      has   exhausted    the    remedies

   available    in    the     courts   of     the      State”.     28     U.S.C.    §

   2254(b)(1)(A). Here, the State of Florida does not concede or

   waive exhaustion as to any and all claims presented and asserts

   all procedural bars and defenses available to it. 28 U.S.C. §

   2254(b)(3); see Alexander v. Johnson, 163 F.3d 906, 908 (5th Cir

   1998); Lambert v. Blackwell, 134 F.3d 506, 515 (3d Cir. 1998);

   Miller v. Dretke, 431 F.3d 241, 245 (5th Cir. 2005); Jones v.

   Jones, 163 F.3d 285, 299 (5th Cir. 1998). While Respondents do

   not concede or waive exhaustion, 28 U.S.C. § 2254(b)(3), “[a]n

   application for writ of habeas corpus may be denied on the

   merits, notwithstanding the failure of the applicant to exhaust

   the remedies available in the courts of the State.” 28 U.S.C. §


      3
       Petitioner has not noticed this Court of these pending
proceedings or whether, upon its resolution in the Florida First
DCA, he intends to seek leave to file a second amended § 2254
petition to raise this now pending claim as a basis for relief in
federal habeas.

                                        -9-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 10 of 67 PageID 686



    2254(b)(2). On the merits, Petitioner is entitled to no relief.

    28 U.S.C. § 2254(d).

          Under the AEDPA, “an application for a writ of habeas

    corpus   in   behalf   of   a   person   in   custody   pursuant   to   the

    judgement of a State court [shall be entertained] only on the

    ground that he is in custody in violation of the Constitution or

    laws or treaties of the United States.” 28 U.S.C. § 2254(a). In

    Carr v. Schofield, 364 F.3d 1246 (11th Cir. 2004), the Eleventh

    Circuit explains:

            Our review of a state court’s judgment in a habeas
       corpus proceeding is governed by a “highly deferential
       standard of review for factual determinations made by a
       state court.” Fugate v. Head, 261 F.3d 1206, 1215 (11th
       Cir. 2001), cert. denied, 535 U.S. 1104, 122 S.Ct. 2310,
       152 L.Ed.2d 1065 (2002). The state court’s determinations
       are “presumed to be correct” and the applicant bears “the
       burden of rebutting the presumption of correctness by
       clear and convincing evidence.” Id. (quoting 28 U.S.C. §
       2254(e)(1)). Further, we can grant federal habeas relief
       only where the state court’s decision

          (1) resulted in a decision that was contrary to, or
          involved an unreasonable application of, clearly
          established Federal law, as determined by the
          Supreme Court of the United States; or

          (2) resulted in decision that was based on an
          unreasonable determination of the facts in light of
          the   evidence  presented   in  the   State   court
          proceeding.

       28 U.S.C. § 2254(d). The state court’s decision is
       “contrary to” if it “arrives at a conclusion opposite to
       that reached by [the Supreme Court] on a question of law”
       or “decides a case differently than [the Supreme Court]
       on a set of materially indistinguishable facts.” Williams
       v. Taylor, 529 U.S. 362, 412-13, 120 S.Ct. 1495, 1523,
       146 L.Ed.2d 389 (2000). A state court’s decision that
       applies the law as determined by the Supreme Court to the

                                      -10-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 11 of 67 PageID 687



       facts is not “contrary to” whether or not the federal
       court would have reached a different result. Fugate, 261
       F.3d at 1216. The state court’s decision is an
       objectively “unreasonable application” if it “identifies
       the correct governing [Supreme Court] legal principle ...
       but unreasonably applies that principle to the facts,”
       Williams, 529 U.S. at 413, 120 S.Ct. at 1523, or “refuses
       to extend the governing legal principle to a context in
       which the principle should have controlled.” Ramdass v.
       Angelone, 530 U.S. 156, 166, 120 S.Ct. 2113, 2120, 147
       L.Ed.2d 125 (2000).

    Id. at 1250; see Williams v. Taylor, 529 U.S. 362, 409-413, 120

    S.Ct.   1495,   1521-1523,   146      L.Ed.2d    389    (2000).        Thus,   the

    “contrary to” and “unreasonable application” clauses of section

    2254(d)(1),     have   independent     meaning    and        provide    separate

    grounds for relief. See id. “Avoiding these pitfalls [described

    in Williams v. Taylor] does not require citation of our cases –

    indeed, it does not even require awareness of our cases, so long

    as neither the reasoning nor the result of the state-court

    decision contradicts them.” Early v. Packer, 537 U.S. 3, 8, 123

    S.Ct. 362, 365, 154 L.Ed.2d 263 (2002) (emphasis in original).

    Under   Section    2254(d)(1),       however,    it     is    not   enough      to

    demonstrate that a state court’s decision is “incorrect or

    erroneous”;     rather,   only   a    showing    that    the     decision      was

    “objectively unreasonable” will entitle a petitioner to relief.

    Wiggins v. Smith, 539 U.S. 510, 520-521, 123 S.Ct. 2527, 2535,

    156 L.Ed.2d. 471 (2003).

          “By its terms § 2254(d) bars relitigation of any claim

    ‘adjudicated on the merits’ in state court, subject only to the


                                         -11-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 12 of 67 PageID 688



    exceptions in §§ 2254(d)(1) and (d)(2).” Harrington v. Richter,

    --- U.S. ---, 131 S.Ct. 770, 784-785, 178 L.Ed.2d 624 (2011).

    “[U]nless the state court clearly states that its decision was

    based solely on a state procedural rule, we will presume that

    the state court has rendered an adjudication on the merits when

    the petitioner’s claim ‘is the same claim rejected’ by the state

    court.” Childers v. Floyd, 642 F.3d 953, 968-969 (11th Cir.

    2011)(en banc), citing Early, 537 U.S. at 8, 123 S.Ct. at 364.

    In Richter, the Supreme Court further explained:

       ... As amended by AEDPA, § 2254(d) stops short of
       imposing a complete bar on federal court relitigation of
       claims already rejected in state proceedings. Cf. Felker
       v. Turpin, 518 U.S. 651, 664, 116 S.Ct. 2333, 135 L.Ed.2d
       827 (1996)(discussing AEDPA’s “modified res judicata
       rule” under § 2244). It preserves authority to issue the
       writ in cases where there is no possibility fairminded
       jurists could disagree that the state court’s decision
       conflicts with this Court’s precedents.       It goes no
       farther. Section 2254(d) reflects the view that habeas
       corpus is a “guard against extreme malfunctions in the
       state criminal justice systems,” not a substitute for
       ordinary error correction through appeal. Jackson v.
       Virginia, 443 U.S. 307, 332, n.5, 99 S.Ct. 2781, 61
       L.Ed.2d 560 (1979)(Stevens, J., concurring in judgment).
       As a condition for obtaining habeas corpus from a federal
       court, a state prisoner must show that the state court’s
       ruling on the claim being presented in federal court was
       so lacking in justification that there was an error well
       understood and comprehended in existing law beyond any
       possibility for fairminded disagreement.

    Id. 131 S.Ct. at 786-787 (underscore added).

          Furthermore, as stated in Miller-El v. Cockrell, 537 U.S.

    322, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003), under section

    2254(d)(2): “Factual determinations by state courts are presumed


                                      -12-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 13 of 67 PageID 689



    correct absent clear and convincing evidence to the contrary, §

    2254(e)(1), and a decision adjudicated on the merits in a state

    court    and   based   on    a   factual      determination   will   not   be

    overturned on factual grounds unless objectively unreasonable in

    light of the evidence presented in the state-court proceeding.”

    Id. 537 U.S. at 340, 123 S.Ct. at 1041; see Blankenship v. Hall,

    542 F.3d 1253, 1271-1272 (11th Cir. 2008)(“implicit findings of

    fact are entitled to deference under § 2254(d) to the same

    extent   as    explicit     findings    of    fact.”)(citations   omitted).

    “[W]here factual findings underlie the state court’s legal

    ruling, our already deferential review [under AEDPA] becomes

    doubly so.” Childers, 642 F.3d at 972.

          For a decision of the state court to be considered an

    adjudication on the merits so that it will be entitled to

    deference for habeas review under the AEDPA, it is not required

    to provide an explanation of its reasoning. Richter; Childers,

    supra; Wright v. Sec’y Dept. of Corr., 278 F.3d 1245, 1254-1255

    (11th Cir. 2002).

          Each of the four claims on which Petitioner seeks relief in

    federal habeas assert ineffective assistance of counsel as their

    basis. (Ex. 6). In order for a defendant to show that he

    received ineffective assistance of counsel, he must establish

    that “counsel made errors so serious that counsel was not

    functioning as the ‘counsel’ guaranteed the defendant by the



                                           -13-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 14 of 67 PageID 690



    Sixth    Amendment”    and   that    counsel’s    deficient   performance

    prejudiced the defense in that there is a reasonable probability

    that counsel’s error rendered the result unfair or unreliable.

    Strickland v. Washington, 466 U.S. 668, 687, 104 S.Ct. 2052,

    2064, 80 L.Ed.2d 674 (1984); see 28 U.S.C. § 2254(d). “There is

    no reason for a court deciding an ineffective assistance claim

    to approach the inquiry in the same order or even to address

    both    components    of   the   inquiry   if   the   defendant   makes   an

    insufficient showing on one.” Strickland, 466 U.S. at 697, 104

    S.Ct. at 2069.

            However, in federal habeas, a “double deferential judicial

    review ... applies to a Strickland claim evaluated under the s.

    2254(d)(1) standard[.]” Knowles v. Mirzayance, 556 U.S. ---, 129

    S.Ct. 1411, 1420, 173 L.Ed.2d 1411 (2009), citing Yarborough v.

    Gentry, 540 U.S. 1, 5-6, 124 S.Ct. 1, 157 L.Ed.2d 1 (2003). The

    Supreme Court explained in Knowles:

            The question “is not whether a federal court
       believes the state court’s determination” under the
       Strickland standard “was incorrect but whether that
       determination was unreasonable --- a substantially higher
       threshold.” Schriro [v. Landrigan, 550 U.S. 465, 473, 127
       S.Ct. 1933, 167 L.Ed.2d 836 (2007)]. And, because the
       Strickland standard is a general standard, a state court
       has even more latitude to reasonably determine that a
       defendant has not satisfied that standard. See Yarborough
       v. Alvarado, 541 U.S. 652, 664, 124 S.Ct. 2140, 158
       L.Ed.2d   938   (2004)(“[E]valuating   whether   a   rule
       application was unreasonable requires considering the
       rule’s specificity. The more general the rule, the more
       leeway courts have in reaching outcomes in case-by-case
       determinations.”).


                                        -14-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 15 of 67 PageID 691



    Id., 129 S.Ct. at 1420. Thus, in light of the deference which

    must be afforded the decision of the state court on a claim of

    ineffective assistance of counsel, the proper inquiry in federal

    habeas is “not whether counsel’s actions were reasonable[,]” but

    instead   “whether      there   [was]    any    reasonable      argument   that

    counsel satisfied Strickland’s deferential standard.” Richter,

    131 S.Ct. at 788.

                                        Ground 1

          In this first ground, Petitioner seeks relief in federal

    habeas    based   on    a   claim     that     his   “[t]rial    counsel   was

    ineffective for        failing to argue that Defendant Whittier’s

    [metabolic] acidosis resulted in involuntary intoxication (not

    diminished capacity)” and in failing to request that the jury be

    instructed on involuntary intoxication. (Doc. 6)(parens. in

    original). Petitioner’s Ground 1 in federal habeas is a verbatim

    reproduction of Ground 1 of the amended Florida Rule 3.850 post-

    conviction motion authored by collateral counsel and filed in

    the state circuit court on October 12, 2007. (Ex. 16).

          At trial in the instant case, Petitioner’s counsel did

    attempt to present the jury with evidence that he experienced a

    condition of metabolic acidosis through the testimony of Dr.

    Ernest Miller. (Ex. 29, p.150; 39, p.139-142). However, by pre-

    trial motion in limine, the State sought to have this evidence

    excluded from trial. (Ex. 40).


                                          -15-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 16 of 67 PageID 692



          At   the   hearing   on   the     State’s   motion   in   limine,

    Petitioner’s counsel, relying upon the holding in Wise v. State,

    580 So.2d 329 (Fla. 1st DCA 1991) and as approved in Bunney v.

    State, 603 So.2d 1270 (Fla. 1992), explained that her intent in

    calling Dr. Miller to testify at trial regarding Petitioner’s

    metabolic acidosis was not to present a diminished capacity or

    an insanity defense, nor was it to argue voluntary intoxication.

    (Ex. 39, p.139-142). Rather, Petitioner’s counsel contended that

    Dr. Miller’s testimony was admissible because it was evidence of

    a physical infirmity which would explain his behavior at the

    time when he committed the robbery and his subsequent lack of

    memory thereof. (Ex. 39, p.139-142). The trial court, however,

    disagreed and granted the State’s motion in limine upon finding,

    as follows:

            THE COURT: * * * The defendant seeks to use
       testimony from the evaluating psychiatrist that he
       suffered from metabolic acidosis nine days before the
       crime charged in this case. In the opinion of the
       evaluating psychiatrist, Dr. Ernest Miller, the defendant
       was not insane at the time of the crime. Dr. Miller
       reports based upon the history provided by the defendant
       that the defendant, quote, “had been drinking all along
       to some degree,” close quote.
            The state and the defense agree that voluntary
       intoxication is not a defense in the case, and the
       defense has indicated that it doesn’t seek to introduce
       the testimony with regard to metabolic acidosis on that
       issue. The defense seeks to introduce testimony about
       that issue to show that at the time of the crime the
       defendant suffered a physical defect.
             But the Court has been unable to locate any case in
       this country in which the fact that the defendant
       suffered from metabolic acidosis was admitted in any
       criminal trial. Indeed the phrase has seldom been used in

                                     -16-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 17 of 67 PageID 693



       cases in any jurisdiction and only once in a Florida
       case, at least that this Court was able to locate, and
       that case was a civil case.
            The defendant seems to be suggesting that if he
       suffered from metabolic acidosis at the time of the
       crime, then he would have been unable to form the
       specific intent to commit the crime.
            The   Court   sees   several   problems   with   the
       admissibility of this testimony. Dr. Miller’s report
       indicates that Shands Medical Center records show that
       nine days before the offense the defendant suffered from
       metabolic acidosis but that the hospital records from
       Florida State Hospital, which were created after the
       offense, show no such metabolic acidosis.
            Clearly then metabolic acidosis can be corrected or
       can disappear. The Court has not been presented with any
       testimony regarding whether on the date of the crime the
       defendant suffered from metabolic acidosis.
            Dr. Miller testified that metabolic acidosis may –-
       that was his word –- cause vague lassitude, nausea, and
       vomiting leading to irritability, auditory and visual
       hallucinations, headaches, and confusion.
             Although Mr. Miller concludes somewhat ambiguously
       that this, quote, “unquestionably factored into his
       behavior,” close quote, there has been testimony that the
       defendant was suffering those symptoms nine days –-
       excuse me, suffering those symptoms at Shands nine days
       before the crime or was suffering those symptoms during
       the crime.
            Third, and significantly to the Court, the metabolic
       acidosis due to self-neglect as reported by Dr. Miller
       appears to be related in whole or in significant part to
       the defendant’s voluntary intoxication [by alcohol]. Many
       physical changes occur in the body with voluntary
       intoxication and particularly with prolonged voluntary
       intoxication [by alcohol].
            Admission of testimony about the metabolic acidosis
       would therefore be a back door method of implicitly
       defending on an impermissible defense of voluntary
       intoxication. The evidence may not be introduced to show
       diminished capacity because the defendant is not
       contending that he was insane at the time of the crime.
            The Court also concludes that to the extent that the
       evidence may have any relevance, its probative value is
       substantially outweighed by the danger that the jury will
       be confused and will use the evidence in an impermissible
       manner. Consequently, the state’s motion in limine is


                                     -17-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 18 of 67 PageID 694



       granted.

    (Ex. 39)(bold added).4

           Later, during trial, after the State rested its case-in-

    chief, but prior to the commencement of the defense case, the

    previously excluded testimony of Dr. Miller was proffered by

    Petitioner. (Ex. 29, p.138-139, 246, 248-271). Following Dr.

    Miller’s proffer, the trial court reaffirmed its prior ruling

    granting   the   State’s   motion     in   limine.   (Ex.   29,    p.272).

    Following his conviction and prior to imposition of sentence,

    Petitioner unsuccessfully raised the exclusion of Dr. Miller’s

    proffered metabolic acidosis testimony by motion for new trial.

    (Ex. 41; 42).

           Thereafter, as ISSUE II in his initial brief on direct

    appeal,    Petitioner   argued   that      the   trial   court    erred   in

    excluding Dr. Miller’s proffered testimony where it was “offered

    to explain [his] loss of consciousness at the time of the

    robbery or to explain [his] inability to recall the events of

    the robbery.” (Ex. 45). Petitioner also argued that Dr. Miller’s

    proffered testimony of metabolic acidosis was admissible because


       4
        By the time Petitioner robbed The Peoples First Community
 Bank with a short-barreled shotgun on July 17, 2002, voluntary
 intoxication had been abolished by the Florida legislature as a
 defense to any crime. (Ex. 5; 7); see § 775.051, Fla. Stat.
 (1999); Ch. 99-174, Laws of Fla. Further, evidence of diminished
 capacity was not then and has never been admissible under Florida
 law on the issue of criminal intent. See State v. Bias, 653 So.2d
 380, 382 (Fla. 1995); Chestnut v. State, 538 So.2d 820 (Fla.
 1989).

                                        -18-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 19 of 67 PageID 695



    it was “relevant to the question of whether [he] was capable of

    forming the requisite criminal intent at the time of the offense

    due to lack of consciousness”.5 (Ex. 45). The Florida First DCA

    per curiam affirmed without opinion. (Ex. 48).

             In   state    post-conviction             and   now    in   federal   habeas,

    Petitioner contends that notwithstanding trial counsel’s efforts

    to admit Dr. Miller’s testimony of the metabolic acidosis he

    experienced nine days prior to the robbery into evidence at

    trial, counsel instead should have sought its admission under a

    different legal theory of involuntary intoxication. (Doc. 6; Ex.

    16). Still further, Petitioner contends that trial counsel

    should have shopped about until she found an expert who “was

    willing and able to testify at trial and who would have formed

    an       opinion    that     there    was     a     basis      for   the   involuntary

    intoxication defense in Defendant Whittier’s trial.” (Doc. 6;

    Ex.       16).     Indeed,    in     support        of   this    latter     assertion,

    Petitioner’s collateral counsel commissioned one Dr. Darren

    Rothschild to evaluate Petitioner and who, five years after the

    robbery, opined that Petitioner’s “starvation during the weeks

    preceding his arrest may have resulted in metabolic acidosis”

    which “could have had an intoxicating effect on him” and “would


         5
        The State’s position on direct appeal was that while the
 former argument of Petitioner was properly preserved, the latter
 was “made for the first time on appeal” and was “in express
 conflict with his theory of defense presented to the jury.” (Ex.
 46).

                                                -19-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 20 of 67 PageID 696



    have    been   reasonable       for    involuntary        intoxication        to   be

    considered a factor for his criminal behavior on July 17, 2002.”

    (Doc. 6: “Attachment”; Ex. 16: “Attachment”).

           Thus, in state post-conviction and now in federal habeas,

    Petitioner contends that with trial counsel’s failure to use

    involuntary intoxication as a defense and to “discover[] prior

    to trial an expert (either Dr. Rothschild or someone else)” who

    would be willing to testify in support of this different legal

    theory, “counsel made errors so serious that counsel was not

    functioning as the ‘counsel’ guaranteed the defendant by the

    Sixth Amendment.” (Doc. 6; Ex. 16). Further, Petitioner contends

    that    he     “would    have     been       relieved          of     all   criminal

    responsibility” had       counsel used this different defense of

    involuntary     intoxication;         therefore,     he    was        prejudiced    by

    counsel’s deficiencies. (Doc. 6; Ex. 16).

           In post-conviction, the circuit court, after identifying

    the    appropriate      Strickland       standards        of        performance    and

    prejudice applicable to claims of ineffective assistance of

    trial counsel, summarily denied Ground 1 in the alternative, as

    follows:

            In his first ground for relief, the Defendant raises
       two subclaims. In subclaim one he alleges trial counsel
       was ineffective because she did not raise involuntary
       intoxication as a defense. (Defendant’s Amended Motion,
       at 5.) In subclaim two, he alleges trial counsel was
       ineffective because he did not request a jury instruction
       on involuntary intoxication. (Defendant’s Amended Motion,
       at 7.)


                                          -20-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 21 of 67 PageID 697



            In subclaim one, the Defendant alleges that trial
       counsel should have mounted an involuntary intoxication
       defense based on a condition called metabolic acidosis.
       The   Defendant    correctly   notes   that   involuntary
       intoxication has been recognized as a defense to specific
       intent crimes in Florida in circumstances where a
       defendant unknowingly ingested a substance that impaired
       the defendant or where prescribed medication caused the
       defendant’s criminal conduct. (Defendant’s Amended
       Motion, at 5-6.) However, in this case, the record
       reflects that the defense of involuntary intoxication by
       metabolic acidosis was not available to the Defendant
       because there was no evidence that the Defendant suffered
       from metabolic acidosis at the time of the crime.
       (Exhibits “G,” pages 16-17; “H,” pages 261-271.) Further,
       in granting the State’s First Motion in Limine, the Court
       specifically concluded that evidence regarding metabolic
       acidosis was inadmissible at trial. (Exhibit “G,” page
       18.) Moreover, at trial, the Court reiterated that its
       ruling regarding metabolic acidosis remained the same.
       (Exhibit “H,” page 272.)
            Initially, this Court notes that on direct appeal
       the Defendant claimed the Court erred in its ruling that
       evidence regarding metabolic acidosis was inadmissible at
       trial. (Exhibits “I,”“J,”“K.”) Thus it appears that the
       Defendant is attempting to relitigate his previously
       denied claim in the guise of ineffective assistance of
       counsel. However, the Defendant, having raised this claim
       on direct appeal, is procedurally barred from raising it
       again in a motion for postconviction relief. Medina v.
       State, 573 So.2d 293 (Fla. 1990)(affirming the denial of
       postconviction relief and holding that issues that had
       been raised or should have been raised on direct appeal
       are barred in post-conviction proceedings). The Defendant
       may not use these postconviction proceedings to
       relitigate issues decided adversely to him on direct
       appeal.   Thus,   the   Defendant’s   subclaim   one   is
       procedurally barred and constitutes an abuse of process.
       Foster v. State, 614 So.2d 455 (Fla. 1992); Ziegler v.
       State, 632 So.2d 48 (Fla. 1993); Ragan v. State, 643
       So.2d 1175 (Fla. 3d DCA 1994). The previous denial of
       that claim constitutes the law of the case. Raley v.
       State, 675 So.2d 170 (Fla. 5th DCA 1996). Accordingly,
       the Defendant’s subclaim one of his first ground is
       denied.
            In subclaim two, the Defendant alleges that trial
       counsel was ineffective because she failed to request
       that an involuntary intoxication instruction be given to

                                     -21-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 22 of 67 PageID 698



        the jury. As discussed supra, the Court ruled that
        evidence of metabolic acidosis was inadmissible at trial.
        (Exhibits “G,”“H.”) As the Defendant fails to show that
        there was any evidence to support a request by trial
        counsel for an involuntary intoxication instruction, the
        Defendant’s subclaim two of his first ground for relief
        is denied. Accordingly, the Defendant’s first ground is
        denied.

    (Ex. 19)(bold added).

         As is apparent from the above, notwithstanding its initial

   finding that Petitioner’s motion did not comply with the oath

   requirement of Rule 3.850, although the circuit court considered

   the first of Petitioner’s sub-claims to be procedurally barred,

   it   only   did   so   only   after    finding   that   “the   defense   of

   involuntary intoxication by metabolic acidosis was not available

   to the Defendant because there was no evidence that the Defendant

   suffered from metabolic acidosis at the time of the crime[,]” and

   “in granting the State’s First Motion in Limine, the Court

   specifically concluded that evidence regarding metabolic acidosis

   was inadmissible at trial.” (Ex. 19). Hence, with the circuit

   court’s reliance upon these specific findings to conclude that

   trial counsel was not ineffective on the merits as to sub-claim

   two, the direct implication of it having made these specific

   findings is that it also found that trial counsel was not

   ineffective as to sub-claim one as well. (Ex. 19).

         Petitioner appealed the above decision of the circuit court

   to the Florida First DCA, presenting its denial on the merits as

   an issue for appellate review. (Ex. 23, p.8-15). The First DCA

                                         -22-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 23 of 67 PageID 699



   affirmed per curiam without opinion. (Ex. 27).

         As discussed above and reference to the state court record

   confirms, the circuit court’s factual determination that there is

   “no evidence that the Defendant suffered from metabolic acidosis

   at the time of the crime” is supported and entitled to deference

   under the AEDPA. (Ex. 19: “Exhibits G and H”; 29; 39); see

   Miller-El; Childers, supra; 28 U.S.C. § 2254(e). Likewise, so too

   is the circuit court’s factual determination that Petitioner

   “fail[ed] to show any evidence to support a request by trial

   counsel for an involuntary intoxication instruction” supported

   and entitled to deference under the AEDPA. (Ex. 19: “Exhibits G

   and H”; 29; 39); see Miller-El; Childers, supra; 28 U.S.C. §

   2254(e). In so finding, acting in its capacity as finder of fact,

   the state circuit court was free to discount and even disregard

   collateral counsel’s attempt to construct support for this theory

   by hiring a doctor –- “(either Dr. Rothschild or someone else)”

   –- he contends trial counsel would have discovered had she tried.

   See Fla.R.Crim.P. 3.850(d). Indeed, “the mere fact [that] a

   defendant can find, years after the fact, a mental health expert

   who will testify favorably for him does not demonstrate that

   trial counsel was ineffective for failing to produce that expert

   at trial.” Reed v. Sec’y, Fla. Dep’t of Corr., 593 F.3d 1217,

   1242 (11th Cir. 2010), quoting Davis v. Singletary, 119 F.3d

   1471, 1475 (11th Cir. 1997).


                                      -23-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 24 of 67 PageID 700



         In     addition   to    no    evidence       that   Petitioner          suffered

   metabolic acidosis at the time of the crime, the circuit court

   further found that such evidence was inadmissible as a matter of

   state law. (Ex. 19). Indeed, under Florida law, whether couched

   in terms of being voluntary or involuntary, absent the presence

   of an intoxicant, there can be no intoxication. Pietri v. State,

   885 So.2d 245, 252-255 (Fla. 2004)(“Pietri essentially asserts

   that evidence could have been presented, not to show that he was

   legally insane or voluntarily intoxicated, but instead that his

   prior   drug    abuse   resulted      in    a   mental    defect    -    ‘metabolic

   intoxication’ - a diminished capacity which produced an inability

   to form the specific intent to commit premeditated murder. Such

   evidence was inadmissible.”); see Pietri v. Fla. Dept. of Corr.,

   641 F.3d 1276, 1284 (11th Cir. 2011), citing id. Even the medical

   expert commissioned by Petitioner’s collateral counsel agreed

   that Petitioner was not under the influence of an intoxicant at

   the time he committed the crimes. (Ex. 16: “Attachment”).

         The Supreme Court “repeatedly has held that state courts are

   the ultimate expositors of state law ....” Mullaney v. Wilbur,

   421   U.S.    684,   691,    95    S.Ct.    1881,   44    L.Ed.2d       508    (1975).

   Accordingly, “a state court’s interpretation of state law ...

   binds a federal court sitting in habeas corpus.” Bradshaw v.

   Richey, 546 U.S. 74, 76, 126 S.Ct. 602, 604, 163 L.Ed.2d 407

   (2005)(citations        omitted).          Thus,    regardless      of         whether



                                          -24-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 25 of 67 PageID 701



   Petitioner’s trial counsel had attempted to seek admission of

   this very same evidence at trial by couching it in terms of

   having induced involuntary intoxication, the result would have

   been the same. Pietri v. State, supra; see Herring v. Sec., Dep’t

   of Corr., 397 F.3d 1338, 1354-1355 (11th Cir. 2005)(“The Florida

   Supreme Court already has told us how the issues would have been

   resolved under Florida state law had [petitioner’s counsel] done

   what [petitioner] argues he should have done [e.g. proposed

   objection would have been overruled] .... It is a ‘fundamental

   principle that state courts are the final arbiters of state law,

   and federal habeas courts should not second-guess them on such

   matters.’”), quoting Agan v. Vaughn, 119 F.3d 1538, 1549 (11th

   Cir. 1997); Callahan v. Campbell, 427 F.3d 897, 932 (11th Cir.

   2005)(“[T]he     Alabama     Court   of   Criminal   Appeals   has   already

   answered the question of what would have happened had [defense

   counsel] objected to the introduction of [the petitioner’s]

   statements based on [state law] – the objection would have been

   overruled. Therefore, [defense counsel] was not ineffective for

   failing to make that objection.”)(citations omitted).

         Overall,   even   if    Petitioner    was   experiancing   metabolic

   acidosis at the time he robbed The Peoples First Community Bank

   with a short-barreled shotgun on July 17, 2002, with no evidence

   that he was under the influence of any intoxicant at that time,

   such evidence was inadmissible under Florida law. Accordingly,


                                        -25-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 26 of 67 PageID 702



   Petitioner’s    trial   counsel   cannot   have   been    ineffective   in

   failing to seek admission of Petitioner’s metabolic acidosis

   under an involuntary intoxication theory, nor can Petitioner

   establish   prejudice,    as   such   evidence    would   not   have   been

   admissible. See Strickland, supra.

         “By its terms § 2254(d) bars relitigation of any claim

   ‘adjudicated on the merits’ in state court, subject only to the

   exceptions in §§ 2254(d)(1) and (d)(2).” Richter, 131 S.Ct. at

   784. Further, the Supreme Court has made it clear that under

   Section 2254(d)(1), it is not enough to demonstrate that a state

   court’s decision is “incorrect or erroneous”; rather, only a

   showing that the decision was “objectively unreasonable” will

   entitle a petitioner to relief under the AEDPA. Wiggins, 539 U.S.

   at 520-521, 123 S.Ct. at 2535. As set out above, Petitioner

   cannot “show that the state court’s ruling on the claim being

   presented in federal court was so lacking in justification that

   there was an error well understood and comprehended in existing

   law beyond any possibility for fairminded disagreement.” Richter,

   supra. Accordingly, for those reasons set out above, as well as

   in the post-conviction court’s order denying 3.850 relief and

   affirmed by the Florida First DCA, Petitioner cannot establish

   that the Florida courts’ denial of post-conviction relief was

   contrary to or an unreasonable application of Strickland, or that

   it rest upon an unreasonable determination of the facts in light



                                      -26-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 27 of 67 PageID 703



   of the evidence presented. See Wiggins; Miller-El; Williams;

   Strickland, supra; 28 U.S.C. § 2254(d).

         Accordingly, Ground 1 of the amended petition for writ of

   habeas corpus must be denied. 28 U.S.C. § 2254(d).

                                     Ground 2

         In this second ground, Petitioner seeks relief in federal

   habeas   based   on   a   claim   that     his   trial   counsel   “rendered

   ineffective assistance by failing to introduce the bank video

   which would have established that Defendant Whittier was not

   armed during the alleged offense.” (Doc. 6). Petitioner’s Ground

   2 in federal habeas is a verbatim reproduction of Ground 2 of the

   amended Florida Rule 3.850 post-conviction motion authored by

   collateral counsel and filed in the state circuit court on

   October 12, 2007. (Ex. 16).

         The   circuit   court,      after    identifying    the   appropriate

   Strickland standards of performance and prejudice applicable to

   claims of ineffective assistance of trial counsel, as well as

   ruling as a matter of state law that Petitioner’s motion was

   insufficient for lack of oath, alternatively denied Ground 2, as

   follows:

            In his second ground for relief, the Defendant
       claims trial counsel was ineffective because she did not
       introduce the bank’s surveillance video to establish that
       the Defendant was unarmed during the robbery. At trial,
       photographs duplicated from the bank surveillance video
       were properly admitted into evidence as fair and accurate
       depictions of the video images. (Exhibit “L,” pages 63-
       71.) The Defendant admits “[t]hat the photographs

                                       -27-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 28 of 67 PageID 704



       introduced by the State did not depict that Defendant
       Whittier carried a firearm, but they were unclear and
       therefore left open the possibility for the State to
       argue that Defendant Whittier did carry a firearm.”
       (Defendant’s Amended Motion, at 8-9.) Thus, it appears
       that the Defendant’s underlying complaint concerns the
       clarity of the images, not the effectiveness of trial
       counsel.
            Initially, this Court notes that to the extent
       Defendant appears to be attempting to challenge the
       sufficiency of the evidence against him, the Defendant
       may not challenge the admissibility, validity, or
       sufficiency of the evidence against him in a motion
       seeking post conviction relief. Betts v. State, 792 So.2d
       589 (Fla. 1st DCA 2001); Jackson v. State, 640 So.2d 1173
       (Fla. 2d DCA 1994). Moreover, the Defendant, once more
       attempts to disguise a claim raised and denied on direct
       appeal in the guise of ineffectiveness of counsel.
       Specifically, the Defendant claimed on direct appeal that
       the Court erred because it admitted the photographs and
       did not require the State to introduce the video.
       (Exhibits,”I,”“J,”“K.”) Thus, having raised this claim on
       direct appeal, the Defendant is procedurally barred from
       raising it again in a motion for postconviction relief.
       Medina v. State, 573 So.2d 293 (Fla. 1990)(affirming the
       denial of postconviction relief and holding that issues
       that had been raised or should have been raised on direct
       appeal are barred in post-conviction proceedings). The
       Defendant may not use these postconviction proceedings to
       relitigate issues decided adversely to him on direct
       appeal. Thus, the Defendant’s ground two is procedurally
       barred and constitutes an abuse of process. Foster v.
       State, 614 So.2d 455 (Fla. 1992); Ziegler v. State, 632
       So.2d 48 (Fla. 1993); Ragan v. State, 643 So.2d 1175
       (Fla. 3d DCA 1994). The previous denial of that claim
       constitutes the law of the case. Raley v. State, 675
       So.2d 170 (Fla. 5th DCA 1996). Accordingly, the
       Defendant’s ground two is denied.

   (Ex. 19).

         Through collateral counsel, Petitioner filed a motion for

   rehearing in the circuit court wherein he             observed without

   identifying any claim in        particular that “the Court denied

   several of the Defendant’s claims because the claims were raised


                                      -28-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 29 of 67 PageID 705



   by the Defendant on direct appeal.” (Ex. 20). Petitioner argued

   that this was improper because the State had argued in its answer

   brief    on   direct    appeal   “that         the   claims   were   not   properly

   preserved for appeal by trial counsel” and, in light of the First

   DCA having affirmed without opinion, it is unclear whether the

   First DCA agreed with the State; therefore, Petitioner contended

   that his post-conviction claims of ineffective counsel were

   properly      raised.    (Ex.    20).     In     support      of   this    position,

   Petitioner attached a complete copy of the State’s direct appeal

   answer brief to his motion for rehearing. (Ex. 20). The circuit

   court’s denied rehearing, explaining only that “[a]fter a review

   of the pleadings, the Court does not find any points of law or

   fact that were overlooked in deciding the Defendant’s prior

   Motion.” (Ex. 21). Petitioner then appealed to the Florida First

   DCA. (Ex. 22).

           Through collateral counsel, Petitioner filed an initial

   brief in the appellate court in which he presented the summary

   denial of Ground 2 of his amended Rule 3.850 motion as a basis

   for relief. (Ex. 23, p.15-19). Therein, after quoting the whole

   of the circuit court’s order as to this issue (as quoted above),

   Petitioner argued:

        ... Contrary to the postconviction court’s analysis,
       Appellant Whittier’s claim does not “concern[] the
       clarity of the images,” nor does his claim “challenge the
       sufficiency of the evidence against him.” Appellant
       Whittier’s claim concerns (as stated in his amended rule
       3.850 motion) defense counsel’s failure to introduce the


                                           -29-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 30 of 67 PageID 706



       bank video (which would have established that Appellant
       Whittier was not armed during the alleged robbery
       offense). The postconviction court’s order completely
       fails to address this claim. Moreover, the attachments to
       the postconviction court’s order do not refute this claim
       (i.e., the postconviction court did not attach the
       video).

   (Ex. 23, p.18)(parens. in original).

         After the State filed notice that it would not file an

   answer brief, (Ex. 24), the First DCA ordered the State to

   respond with regard to the above claim why the circuit court’s

   order “should not be reversed and the cause remanded for the

   trial court to attach portions of the record refuting appellant’s

   allegations or to conduct an evidentiary hearing.” (Ex. 25). In

   its response, after quoting the whole of the circuit court’s

   order as to this issue (as quoted above), the State argued:

            5. The lower court correctly noted that claims of
       sufficiency of the evidence are not cognizable in a Rule
       3.850 motion and also correctly noted that the defendant
       cannot re-litigate issues in a Rule 3.850 proceeding that
       were raised on direct appeal. The legal authorities the
       lower court cites are sound.
            5. If this Court is of the opinion, that Appellant’s
       postconviction motion was actually a valid claim of
       ineffective assistance of counsel for failing to
       introduce the videotape in the defendant’s case in chief,
       this Court still may affirm the trial court’s ruling.
       Even if the videotape is as Appellant asserts and does
       not have any images of him holding a firearm, such
       evidence is of little probative value, inasmuch as it
       shows the same thing that the still photographs showed -
       i.e., that the Defendant did not have a gun in any of the
       pictures. Thus, trial counsel was ineffective for failing
       to produce cumulative evidence.

   (Ex. 25). After Petitioner’s “reply brief,” (Ex. 26), the First

   DCA affirmed per curiam without opinion. (Ex. 27).


                                      -30-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 31 of 67 PageID 707



          In federal habeas, as noted above, Petitioner’s claim is a

   verbatim reproduction of Ground 2 of the amended Rule 3.850

   motion authored by collateral counsel. (Ex. 16). First, the state

   circuit      court’s    determination     that,   as   a    challenge   to    the

   admissibility or sufficiency of the evidence, Petitioner’s claim

   was barred in post-conviction proceedings under Florida law is

   correct. (Ex. 21); see Betts v. State, 792 So.2d 589 (Fla. 1st

   DCA 2001), citing Jackson v. State, 640 So.2d 1173 (Fla. 2d DCA

   1994).    Relief   in    federal    habeas   cannot    be    issued   based   on

   perceived errors of state law. Swarthout v. Cooke, --- U.S. ---,

   131 S.Ct 859, 861-862, 178 L.Ed.2d 732 (2011); Pulley v. Harris,

   465 U.S. 37, 41, 104 S.Ct. 871, 875, 79 L.Ed.2d 29 (1984); Branan

   v. Booth, 861 F.2d 1507 (11th Cir. 1988); 28 U.S.C. § 2254(a).

          Second, in concluding that Petitioner’s claim of counsel’s

   ineffectiveness for failing to introduce the videotape into

   evidence during the defense case-in-chief was procedurally barred

   because Petitioner had “claimed on direct appeal that the Court

   erred because it admitted the photographs and did not require the

   state to introduce the video[,]” the circuit court relied on

   Petitioner’s notice of appeal, statement of judicial acts to be

   reviewed, and motion for new trial. (Ex. 19, p.6: “Exhibits

   ‘I,’‘J,’‘K.’”). While reference to each of these filings confirm

   that   the    issue    of   the   trial   court   “allowing     the   State   to

   introduce selected photographs from the ban surveillance video



                                         -31-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 32 of 67 PageID 708



   without requiring the State to also introduce the entire video[]”

   was identified as one of several basis for review on direct

   appeal, (Ex. 19, p.6: “Exhibits ‘I,’‘J,’‘K.’”), reference to the

   briefs filed in the First DCA on direct appeal confirm that it

   was not. (Ex. 45; 46; 47).6 Thus, the state circuit court’s

   rejection of Petitioner’s claim of ineffective assistance of

   counsel on the ground that it was procedurally barred because the

   underlying claim of error had previously been litigated on direct

   appeal, was erroneous. Nevertheless, this was never brought to

   the attention of the First DCA on post-conviction appeal. (Ex.

   23; 24; 25; 26; 27; 28).

           Still, on the merits in federal habeas, Petitioner is

   entitled to no relief. As State argued in its response in the

   First DCA on post-conviction appeal, even if the videotape “does

   not have any images of him holding a firearm, such evidence is of

   little probative value, inasmuch as it shows the same thing that

   the still photographs showed - i.e., that the Defendant did not

   have a gun in any of the pictures. Thus, trial counsel was

   ineffective for failing to produce cumulative evidence.” (Ex.

   25); see Van Poyck v. Fla. Dep’t of Corr., 290 F.3d 1318, 1324

   n.7 (11th Cir. 2002)(“A petitioner cannot establish ineffective


       6
        Despite having attached a complete copy of the State’s
 direct appeal answer brief to his motion for rehearing in the
 circuit court, Petitioner did not bring to its attention that
 this issue had not been raised as one for review on direct
 appeal. (Ex. 20).

                                      -32-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 33 of 67 PageID 709



   assistance by identifying additional evidence that could have

   been presented when that evidence is merely cumulative.”).

             Furthermore, even if as Petitioner contends he did not

   possess a firearm while inside The Peoples First Community Bank,

   the       record   of   jury   trial    proceedings   confirms    that     under

   Petitioner’s own theory of events, he is guilty of robbery with

   a firearm under Florida law. (Ex. 29, p.36, 38-39, 41-43, 148,

   246-247, 332, 354, 399, 404-405, 421). As the facts of this case

   reveal, the robbery did not end with Petitioner simply walking

   out of the bank; rather, his flight from the scene by automobile

   was part and parcel of that robbery.

             At   trial,   Petitioner     contended   that   the   evidence    only

   supported the conclusion that he had armed himself with the

   short-barreled shotgun only after leaving the bank while inside

   his car as he was fleeing the scene, but before being stopped by

   law enforcement.7 (Ex. 29, p.39-41, 306, 317, 326, 399, 405-409,

   414-421). Petitioner maintained this version of events throughout



         7
        The State presented strong circumstantial evidence that
 Petitioner was armed with the short-barreled shotgun while inside
 the bank. When arrested, the shotgun was underneath the blue long
 sleeve shirt Petitioner was wearing, tied to a piece of rope that
 was looped over Petitioner’s shoulder. (Ex. 29, p.165-169). In
 addition to his having an object beneath his shirt, witnesses
 testified that Petitioner was wearing a blue shirt when he robbed
 the bank and as he was getting into his car to flee the scene.
 (Ex. 29, p.78, 91, 120-128, 135, 165-169). As the arresting
 officer opined, it would have been difficult to take the rope off
 of the shotgun due to the shirt being worn over it without first
 removing the shirt. (Ex. 29, p.169).

                                           -33-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 34 of 67 PageID 710



   state post-conviction proceedings, representing in his amended

   Rule 3.850 motion and initial brief on appeal: “The firearm found

   tied around his body when he was stopped by police was placed on

   his body after the alleged robbery (for purposes of a possible

   suicide).” (Ex. 16, p.8 n.4; 23, p.16 n.12)(parens. in original).

         Convicted as charged in the instant case, robbery with a

   firearm is defined under Florida law, as follows:

            (1) “Robbery” means the taking of money or other
       property which may be the subject of larceny from the
       person or custody of another, with intent to either
       permanently or temporarily deprive the person or the
       owner of the money or other property, when in the course
       of the taking there is the use of force, violence,
       assault, or putting in fear.
            (2)(a) If in the course of committing the robbery
       the offender carried a firearm or other deadly weapon,
       then the robbery is a felony of the first degree,
       punishable by imprisonment for a term of years not
       exceeding life imprisonment or as provided in s. 775.082,
       s. 775.083, or s. 775.084.

         *  * *
            (3)(a) An act shall be deemed “in the course of
       committing the robbery” if it occurs in an attempt to
       commit robbery or in flight after the attempt or
       commission.

   § 812.13, Fla.Stat. (2002)(bold added); (Ex. 5; 7; 29).

         The trial record confirms that even Petitioner did not

   perceive his getaway as anything other than part of the robbery.

   While fleeing the scene by automobile, Petitioner took an evasive

   maneuver into a subdivision and u-turn around the “island” at its

   entrance while Deputy Morningstar followed behind him on his

   marked patrol motorcycle, but did not have his lights and siren



                                      -34-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 35 of 67 PageID 711



   activated. (Ex. 29, p.159-161, 164, 175). Thus, having just

   robbed a bank, Petitioner was checking to see if the officer

   behind him was there by mere coincidence or if the officer was

   intentionally following him by reason of his activities at the

   bank only moments before. Until he was stopped and arrested after

   his failed flight from the scene, Petitioner’s robbery of the

   bank was an ongoing event. § 812.13(3)(a), Fla. Stat. (2002). On

   this matter, the decision Florida First District Court of Appeal

   in Parker v. State, 570 So.2d 1048, 1053 (Fla. 1st DCA 1990), is

   dispositive.

         Because he armed himself “in the course of committing” that

   robbery by securing the short-barreled shotgun on his person

   during his flight from the bank, Petitioner is guilty of robbery

   with a firearm as a matter of Florida law under his own admitted

   version of events. (Ex. 29, p.427). Accordingly, there is no

   reasonable probability that the outcome of his trial would have

   been different had counsel sought and secured the admission of

   the surveillance videotape into evidence during the defense case-

   in-chief. See Strickland, supra. Furthermore, trial counsel’s

   “failure”   to    do   so   is   arguably     dictated   by   a   sound   trial

   strategy. Unable to deny that it was Petitioner who robbed the

   bank and that he was essentially “wearing” a short-barreled

   shotgun   under    his      shirt   when     arrested    during   his     flight

   immediately thereafter, it would have been entirely reasonable



                                         -35-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 36 of 67 PageID 712



   for counsel not to have sought admission of the video during the

   defense case-in-chief on the rationale it would have been more

   prejudicial for the jury to see Petitioner commit this crime “in

   action.” See id.; Devier v. Zant, 3 F.3d 1445, 1450 (11th Cir.

   1993)(“a court should be highly deferential to those choices made

   by defense counsel in the conduct of a trial that are arguably

   dictated by a reasonable trial strategy”); Rogers v. Zant, 13

   F.3d 384, 386 (11th Cir. 1994)(“Even if many reasonable lawyers

   would not have done as defense counsel did at trial, no relief

   can be granted on ineffectiveness grounds unless it is shown that

   no reasonable lawyer, in the circumstances, would have done

   so.”).

         “By its terms § 2254(d) bars relitigation of any claim

   ‘adjudicated on the merits’ in state court, subject only to the

   exceptions in §§ 2254(d)(1) and (d)(2).” Richter, 131 S.Ct. at

   784. Further, the Supreme Court has made it clear that under

   Section 2254(d)(1), it is not enough to demonstrate that a state

   court’s decision is “incorrect or erroneous”; rather, only a

   showing that the decision was “objectively unreasonable” will

   entitle a petitioner to relief under the AEDPA. Wiggins, 539 U.S.

   at 520-521, 123 S.Ct. at 2535. As set out above, Petitioner

   cannot “show that the state court’s ruling on the claim being

   presented in federal court was so lacking in justification that

   there was an error well understood and comprehended in existing



                                      -36-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 37 of 67 PageID 713



   law beyond any possibility for fairminded disagreement.” Richter,

   supra. Accordingly, for those reasons set out above, as well as

   in the post-conviction court’s order denying 3.850 relief and

   affirmed by the Florida First DCA, Petitioner cannot establish

   that the Florida courts’ denial of post-conviction relief was

   contrary to or an unreasonable application of Strickland, or that

   it rest upon an unreasonable determination of the facts in light

   of the evidence presented. See Wiggins; Miller-El; Williams;

   Strickland, supra; 28 U.S.C. § 2254(d).

         Accordingly, Ground 2 of the amended petition for writ of

   habeas corpus must be denied. 28 U.S.C. § 2254(d).

                                     Ground 3

         In this third ground, Petitioner seeks relief in federal

   habeas   based   on   a   claim   that      his   trial   counsel   “rendered

   ineffective assistance by failing to contest Defendant Whittier’s

   competency to proceed to trial.” (Doc. 6). Petitioner’s Ground 3

   in federal habeas is a verbatim reproduction of Ground 3 of the

   amended Florida Rule 3.850 post-conviction motion authored by

   collateral counsel and filed in the state circuit court on

   October 12, 2007. (Ex. 16).

         The   circuit   court,      after     identifying    the   appropriate

   Strickland standards of performance and prejudice applicable to

   claims of ineffective assistance of trial counsel, as well as

   ruling as a matter of state law that Petitioner’s motion was


                                        -37-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 38 of 67 PageID 714



   insufficient for lack of oath, alternatively denied Ground 3, as

   follows:

            In his third ground for relief, the Defendant raises
       two subclaims. In subclaim one, he alleges that trial
       counsel was ineffective because she failed to contest the
       Defendant’s competency to proceed to trial. Specifically,
       he claims that trial counsel did not seek a second
       opinion with regard to his competency to stand trial.
       (Defendant’s Amended Motion, at 9-10.) In subclaim two,
       the Defendant claims that the Court did not hold a
       competency hearing to determine whether he was competent
       to stand trial. (Defendant’s Amended Motion, at 10.)
       Initially, this Court notes that the Defendant’s claims
       are completely unfounded.
            As to subclaim one, this Court notes that prior to
       stipulating that the Defendant was competent to proceed,
       the Court issued two Orders Appointing Expert to Examine
       Defendant and Report to Defendant’s Attorney dated April
       25, 2003 and August 27, 2003 respectively. (Exhibits
       “M,”“N.”) In response to the Order dated April 25, 2003,
       Dr. Ernest Miller examined the Defendant and found him
       competent to proceed to trial. (Exhibit “O.”)[FN3] In
       response to the Order dated August 27, 2003, Dr. Umesh
       Mhatre examined the Defendant and found him competent to
       proceed to trial. (Exhibit “P.”) Thus, the record
       reflects that trial counsel sought and obtained two
       expert opinions attesting to the Defendant’s competency
       to proceed to trial independent of the competency finding
       made by Dr. Marcellus Tayor, Senior Psychologist at
       Florida State Hospital. (Exhibit “Q.”) The Defendant’s
       subclaim one of his third ground for relief is denied.

          [FN3] Additionally, in his testimony proffered at
          trial, Dr. Miller testified under oath as to the
          Defendant’s competency. (Exhibit “H.”)

            In the Defendant’s second subclaim, he alleges that
       the Court did not hold a competency hearing to determine
       the Defendant’s competency to proceed to trial. However,
       the Defendant’s claim is refuted by the record. On
       November 6, 2003, the Court held a hearing to determine
       the Defendant’s competency to proceed to trial. (Exhibit
       “R.”) At the hearing, trial counsel submitted Dr. Umesh
       Mhatre’s report for the Court’s review. (Exhibit “R,”
       page 3.) Additionally, both parties stipulated that the
       Defendant was competent to proceed. (Exhibit “R,” pages


                                     -38-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 39 of 67 PageID 715



       3-4.) See Fowler v. State, 255 So.2d 513, 514 (Fla.
       1971)(“where the parties and the judge agree, the trial
       court may decide the issue of competency on the written
       reports alone.”) referencing Brown v. State, 245 So.2d68
       (Fla. 1971), vacated in part on other grounds, 408 U.S.
       938 (1972). The Court found that “based upon the report
       and the stipulation of counsel for both parties that
       Stephen A. Wittier [was] competent to proceed,” and
       issued an Order Adjudging Defendant Mentally Competent.
       (Exhibits “R,” page 3-4; “S.”)
            This Court further notes t h a t t h e D e f e n d a n t ’ s
       competency was evaluated at trial prior to the
       Defendant’s testimony. “The test for whether a defendant
       is competent to stand trial is whether ‘he has sufficient
       present ability to consult with his lawyer with a
       reasonable degree of rational understanding - and whether
       he has a rational as well has factual understanding of
       the proceedings against him.” Hunter v. State, 660 So.2d
       244, 246 (Fla. 1995), citing Dusky v. U.S., 362 U.S. 402,
       402 (1960). At trial, the Court addressed the Defendant
       as follows:

          The Court:       Mr. Whittier, I would like to ask
                           you a few more questions if you
                           would come forward, please, with
                           your attorney. Mr. Whittier, as you
                           know the defense of insanity has not
                           been raised in this case. Have you
                           had an opportunity to talk with your
                           attorneys about the variety of
                           different defenses that might be
                           available to you in this case,
                           including but not limited to the
                           defense of insanity?

          The Defendant: Yes, I have.

          The Court:       And without sharing with me the
                           privileged communications, have you
                           discussed with your attorney whether
                           ore not the defense of insanity
                           might be a viable defense for you in
                           this case?

          The Defendant: We have discussed that.

          The Court:       Have you talked with her about
                           whether or not there is any expert


                                     -39-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 40 of 67 PageID 716



                           testimony that would support that
                           defense?

          The Defendant: Yes, Your Honor, we have.

          The Court:       Has   she  answered   all   of your
                           questions about the defense of
                           insanity and whether or not that
                           would be a provable defense in this
                           case?

          The Defendant: We have discussed it.

          The Court:       Has she answered all those questions
                           to your complete satisfaction?

          The Defendant: Yes.

          The Court:       Do you feel that you understand the
                           issue completely?

          The Defendant: Yes, because I have spoken with
                         three –- there has been three expert
                         witnesses that interviewed me since
                         I have been back, one before I went
                         to the state hospital and then a
                         team that took care of me for six
                         months at the state hospital, so I
                         understand that there are expert
                         witnesses who have said that I need
                         to be on this medication.

          The Court:       The question that I am really asking
                           you now is not so much about whether
                           you need to be on that medication
                           currently but whether the defense of
                           insanity is a defense that you want
                           to raise in this case.     You have
                           indicated to me that you have talked
                           with your attorneys about whether or
                           not   such   a  defense   would   be
                           available to you under the state of
                           the facts and the law and expert
                           testimony in this case?

          The Defendant: Yes. We discussed it and I agree
                         with the course that we are taking
                         at this moment.


                                     -40-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 41 of 67 PageID 717



          The Court:       Has anyone       pressured   you   to say
                           that?

          The Defendant: No, ma’am.

          The Court:       Has anyone threatened        you to say
                           that?

          The Defendant: No, ma’am.

          The Court:       Is anyone promising you anything to
                           say that?

          The Defendant: No.

          The Court:       And without discussing the results
                           of any confidential evaluations, Ms.
                           Kalil, are there evaluations that
                           have been done in this case on the
                           issue    of   insanity    that   not
                           confidential?

          Trial Counsel: The only one, Your Honor, is the one
                         by Dr. Miller which I have provided
                         to the Court and that was part of
                         the earlier argument that we had
                         months ago regarding the issue of
                         the medical issues raised in this
                         case.

          The Court:       And Mr. Miller’s opinion in the
                           court filed then would not support a
                           defense of insanity.

          Trial Counsel:    That is correct.

       (Exhibit   “H.”  pages   249-252.)   This  colloquy   is
       sufficiently thorough and adequately reflects that the
       Defendant had sufficient present ability to consult with
       his lawyer with a degree of rational understanding and
       that he had a rational as well as factual understanding
       of the proceedings against him. Moreover, the Defendant
       freely and knowingly consented to defense counsel’s
       strategy of not contesting Defendant’s competency.
       Consequently, the Defendant’s decision to agree with
       trial counsel’s strategy on the record, precludes his
       instant objection to this strategy in subclaim one and
       refutes any claim of error raised in subclaim two. Thus,


                                     -41-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 42 of 67 PageID 718



       the Defendant’s third ground for relief is denied.

    (Ex. 19). Following the denial of his motion for rehearing in

    which he did not address the denial of this claim, (Ex. 20; 21),

    Petitioner appealed to the Florida First DCA. (Ex. 22). Through

    collateral counsel, Petitioner filed an initial brief in the

    appellate court in which he presented only the summary denial of

    subclaim two of Ground 3 as a basis for appellate review. (Ex.

    23, p.19-22). The State will address each subclaim below, in

    turn.

                 Subclaim one of Ground 3

            With collateral counsel’s complete omission of the circuit

    court’s denial of subclaim one of Ground 3 from the initial

    brief as a basis for appellate review, it was abandoned pursuant

    to established Florida law. See Hall v. State, 823 So.2d 757,

    763 (Fla. 2002)(“an issue not raised in an initial brief is

    deemed abandoned and may not be raised for the first time in a

    reply brief.”); Watson v. State, 975 So.2d 572, 573 & n.1 (Fla.

    1st DCA 2008)(“Traditionally, when a defendant submits a brief

    in an appeal from a summary denial of a postconviction motion,

    this Court may review only those arguments raised and fully

    addressed in the brief.”); Cook v. State, 638 So.2d 134, 135

    (Fla. 1st DCA 1994)(“[W]e conclude that the only rulings this

    court must address [on appeal from summary denial of nine post-

    conviction     claims]   are   those      three   asserted   as   error   in


                                       -42-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 43 of 67 PageID 719



    appellant’s brief.”). Therefore, Petitioner did not complete one

    complete round of the state’s established            appellate review

    process with respect thereto that is necessary to satisfy the

    exhaustion requirement in federal habeas. See O’Sullivan v.

    Boerckel, 526 U.S. 838, 845, 119 S.Ct. 1728, 1732, 144 L.Ed.2d

    1 (1999). Accordingly, subclaim one of Ground 3 in federal

    habeas is not exhausted. See Picard v. Connor, 404 U.S. 270,

    276, 92 S.Ct. 509, 513, 30 L.Ed.2d 438 (1971); 28 U.S.C. §

    2254(b)(1)(A).

          Having abandoned subclaim one on appeal, Petitioner cannot

    now return to the state court to exhaust subclaim one of Ground

    3 by successive post-conviction motion; accordingly, subclaim

    one of Ground 3 is procedurally defaulted. See Bailey v. Nagle,

    172 F.3d 1299, 1305 (11th Cir. 1999)(“Federal courts may treat

    unexhausted claims as procedurally defaulted, even absent a

    state court determination to that effect, if it is clear from

    state law that any future attempts at exhaustion would be

    futile.”). In Coleman v. Thompson, 501 U.S. 722, 111 S.Ct. 2546,

    115 L.Ed.2d 640 (1991), the Supreme Court held that “[i]n all

    cases in which a state prisoner has defaulted his federal claims

    in state court pursuant to an independent and adequate state

    procedural rule, federal habeas review of the claims is barred

    unless the prisoner can demonstrate cause for the default and

    actual prejudice as a result of the alleged violation of federal



                                      -43-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 44 of 67 PageID 720



    law, or demonstrate that failure to consider the claims will

    result in a fundamental miscarriage of justice.” Id., 501 U.S.

    at 750, 111 S.Ct. at 2565. “For cause to exist, an external

    impediment, whether it be governmental interference or the

    reasonable unavailability of the factual basis for the claim,

    must    have    prevented    petitioner      from    raising   the   claim.”

    McCleskey v. Zant, 499 U.S. 467, 497, 111 S.Ct. 1454, 1472, 113

    L.Ed.2d 517 (1991), quoting Murray v. Carrier, 477 U.S. 478,

    488, 106 S.Ct. 2639, 2645, 91 L.Ed.2d 397 (1986); see Coleman,

    501 U.S. at 753-754, 111 S.Ct. at 2566-2567(“‘cause’ under the

    cause and prejudice test must be something external to the

    petitioner, something that cannot fairly be attributed to him”).

           Here,    Petitioner   cannot      establish     cause   because    the

    inclusion of subclaim one of Ground 3 in his initial brief for

    review on appeal was not only a matter entirely within his

    control, its omission therefrom by post-conviction counsel was

    apparently intentional; (Ex. 23, p.19-22); hence, there is no

    external impediment. See Coleman; McCleskey; Murray, supra.

    Petitioner’s failure to establish cause is alone dispositive.

    Johnson    v.    Singletary,    938     F.2d   1166,    1175   (11th     Cir.

    1991)(“Because Johnson has failed to establish one element of

    the cause and prejudice exception, he cannot show the exception

    applies.”), citing Engle v. Isaac, 456 U.S. 107, 134 n.43, 102

    S.Ct. 1558, 1575 n.43, 71 L.Ed.2d 783 (1982); see Coleman,



                                          -44-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 45 of 67 PageID 721



    supra.

          Further, “[i]n order to show the type of ‘miscarriage of

    justice’ that will excuse a procedural bar, a petitioner must

    make a colorable showing of actual innocence.” Crawford v. Head,

    311 F.3d 1288, 1327 (11th Cir. 2002), quoting Isaacs v. Head,

    300   F.3d    1232,   1255   (11th     Cir.    2002).   However,    Petitioner

    asserts no claim of actual innocence. (Doc. 6). Therefore, the

    “fundamental     miscarriage      of    justice”     exception      is   waived.

    Bousley v. United States, 523 U.S. 614, 623, 118 S.Ct. 1604,

    1611, 140 L.Ed.2d 828 (1998); Coleman, 501 U.S. at 757, 111

    S.Ct. at 2568 (“As Coleman does not argue in this Court that

    federal      review   of   his   claims       is   necessary   to   prevent    a

    fundamental miscarriage of justice, he is barred from bringing

    these claims in federal habeas.”); Jordan v. Sec. Dept. of

    Corr., 485 F.3d 1351, 1356 (11th Cir. 2007)(“our precedent

    forbids granting habeas relief based upon a [freestanding] claim

    of actual innocence, anyway, at least in non-capital cases.”);

    Isaacs, supra at 1255 n.10. Also, as Petitioner’s claim does not

    involve any assertion of newly discovered evidence, he can make

    no “colorable showing of actual innocence.” Crawford, supra; see

    Schlup v. Delo, 513 U.S. 298, 327, 115 S.Ct. 851, 867, 130

    L.Ed.2d 808 (1995), citing Murray, 477 U.S. at 496, 106 S.Ct.

    2639; Bousley, supra, citing Sawyer v. Whitley, 505 U.S. 333,

    339, 112 S.Ct. 2514, 120 L.Ed.2d 269 (1992); Herrera v. Collins,


                                           -45-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 46 of 67 PageID 722



    506 U.S. 390, 113 S.Ct. 853, 860, 122 L.Ed.2d 203 (1993); Melson

    v. Allen, 548 F.3d 993, 1002 (11th Cir. 2008), vacated on other

    grounds --- U.S. ----, 130 S.Ct. 3491, 177 L.Ed.2d 1081 (2010).

           Accordingly,     subclaim   one      of   Ground   3   of   the   amended

    petition for writ of habeas corpus must be denied.8

                Subclaim two of Ground 3

           As to subclaim two of Ground 3, Petitioner’s claim that

    trial counsel was ineffective “for failing to require or request

    the trial court to conduct a competency hearing[]” is, as

    determined by the state circuit court, “completely unfounded.”

    Indeed, as unpreserved “fundamental error”, in ISSUE I of his

    initial    brief   on    direct    appeal,       Petitioner    unsuccessfully

    contended that the trial court reversibly erred on November 6,

    2003, in failing to conduct a pre-trial competency hearing in

    light of him having been previously found incompetent to proceed

    to trial on October 7, 2002. (Ex. 45, p.17-22).

           As one of ineffective assistance of counsel, this claim is

    as lacking in merit now as it was when raised as trial court

    error on direct appeal. Despite his contention to the contrary,

    on November 6, 2003 the trial court did conduct a competency

    hearing, the record of which reflects, in relevant part, as

    follows:


       8
        Even on the merits, Petitioner is entitled to no relief
 for those reasons set out in the above-quoted order of the state
 circuit court. (Ex. 19); 28 U.S.C. § 2254(d).

                                         -46-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 47 of 67 PageID 723



            [DEFENSE COUNSEL]: Your Honor, at this time I am
       submitting the report of Dr. Matre (sic) who has found
       Mr. Whittier competent to proceed, and we are willing to
       stipulate to that. I believe the state is willing to
       stipulate also so that Mr. Whittier can now be adjudged
       competent to proceed.

            THE COURT:    Bear with me just a moment, please.

            (The Court reviews the document.)

            THE COURT: I have now read the September 1st, 2003,
       report of psychiatrist Dr. Umesh Matre (sic) which
       indicates that in Mr. Matre’s (sic) opinion Dr. Whittier
       is competent and able to proceed in this case. He does
       require continued psychotropic medication.
            Sir, are you receiving that medication in the Duval
       County Jail on a regular basis?

            THE DEFENDANT:     Yes, ma’am.

            THE COURT: Please let your attorney know if at any
       time you don’t get that medication on the basis with
       which you need it.

            THE DEFENDANT:     Yes, ma’am.

            THE COURT: All right. The state also stipulates to
       competency?

            [PROSECUTOR]:     Yes, Your Honor.

            THE COURT:    As does the defense?

            [DEFENSE COUNSEL]:      Yes, Your Honor.

            THE COURT: The Court finds based upon the report
       and the stipulation of counsel for both parties that
       Stephen A. Whittier is competent to proceed in this
       matter. ....

    (Ex. 3; 19: “Exhibit P”; 36). That same day, November 6, 2003,

    the trial court entered a written order adjudging Petitioner

    “mentally competent to stand trial and assist his attorney in




                                      -47-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 48 of 67 PageID 724



    preparation of his defense.” (Ex. 4).9

           Under Florida law, while “[a] defendant’s legal status

    cannot be adjudicated from incompetent to competent without the

    benefit of a hearing[,]” by agreement of the parties, the trial

    court may determine the issue of competency on the basis of

    written reports without need for a full adversarial hearing. See

    Jackson   v.   State,   880   So.     2d     1241,   1243    (Fla.   1st   DCA

    2004)(citations omitted); Metzgar v. State, 741 So. 2d 1181,

    1182-1183 (Fla. 2d DCA 1999), citing Fowler v. State, 255 So. 2d

    513, 515 (Fla. 1971). As is clear from the record of those

    proceedings    quoted   above,      at      the   hearing   on   Petitioner’s

    competency, both he and the State expressly agreed that the

    trial court could determine the issue of competency on the basis

    of Dr. Mhatre’s written report and the trial court did so rely

    on that written report. (Ex. 3). The record also conclusively

    establishes that the trial court read Dr. Mhatre’s report and

    based   its determination of Petitioner’s competency on that

    report. (Ex. 3). Thus, Petitioner’s competency was at issue at



       9
        Notably, Dr. Mhatre, on whose report both parties and the
 trial court relied, was the defense’s own psychiatrist. (Ex. 19:
 “Exhibit P”; 36). Although not relied upon by the trial court, it
 is also worthy of noting that the second defense psychiatrist,
 Dr. Ernest Miller, also found Petitioner competent to proceed, as
 did the State’s psychiatrist, Dr. Marcellus Taylor. (Ex. 19:
 “Exhibit O” & “Exhibit Q”). Thus, it was unanimous among all
 experts who had examined Petitioner after he had been adjudged
 incompetent that he was now competent to proceed to trial.


                                         -48-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 49 of 67 PageID 725



    this November 6, 2003, hearing and the trial court adjudged him

    to be competent based on the report of Dr. Mahtre. (Ex. 3).

    Hence, by agreement, all parties relied upon the written report

    of Dr. Mhatre in concluding that Petitioner was now competent to

    proceed. (Ex. 3; 19: “Exhibit P”; 36).

          The propriety of the trial court’s ruling in the instant

    case is confirmed by the analysis of the Florida First DCA in

    Jackson,   supra.      In   that   case,     this   Court   agreed   with   the

    Jackson’s contention “that the trial court erred in failing to

    hold a competency hearing prior to adjudicating him competent to

    proceed when he had previously been adjudicated incompetent to

    proceed on four separate occasions.” Id. at 1214-1242. After

    examining the decision of the Second District in Metzgar, supra,

    the First DCA held:

            Although the trial court orally declared appellant
       competent to proceed based upon certain medical reports,
       it failed to conduct a proper hearing. The record is
       devoid of any evidence that the parties agreed to such a
       procedure.   Therefore, because a defendant cannot be
       adjudicated from incompetent to competent without a
       competency hearing where he or she has the opportunity to
       call the court-appointed witnesses ... the court’s oral
       declaration was invalid.      Thus, appellant remained
       incompetent when brought to trial.

    Jackson    at   1244   (underscore     added;       citation   omitted);    see

    Metzgar, supra (“We recognize that in Fowler ..., the Florida

    Supreme Court held that where the parties and the trial court

    agree, the trial court may decide the issue of competency on the

    basis of the written reports alone. However, in the present

                                          -49-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 50 of 67 PageID 726



    case, there was no such agreement between the parties and the

    trial court.”).

          Thus, had the parties in Jackson, supra, agreed to proceed

    without a full adversarial hearing and to allow the court to

    base its determination of competency on the medical reports

    alone, no error would have occurred. Id. at 1243-1244; see

    Metzgar, supra. Such are the facts of the instant case. With

    Petitioner, the State, and the trial court all having agreed to

    rely on the written report of Dr. Mhatre in judging Petitioner’s

    competence to proceed to trial, no error occurred as a matter of

    Florida law. See Jackson; Metzgar; Fowler, supra.

          Here,    Petitioner’s    claim         that   his    trial   counsel   was

    ineffective in failing “to require or request the trial court to

    conduct a competency hearing” because he had previously been

    found   incompetent,     is   based    entirely       on    counsel’s   alleged

    failure   to    ensure   compliance          with   Florida    law   governing

    determinations of one’s return to competency. (Doc. 6). As set

    out above and in the order of the state circuit court denying

    post-conviction relief, the trial court did conduct a competency

    hearing as required and in a manner prescribed by Florida law.

    See Jackson; Metzgar; Fowler, supra.

          The Supreme Court “repeatedly has held that state courts

    are the ultimate expositors of state law ....” Mullaney, supra.

    Accordingly, “a state court’s interpretation of state law ...


                                          -50-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 51 of 67 PageID 727



    binds a federal court sitting in habeas corpus.” Bradshaw,

    supra. With no error under Florida law as determined by the

    state court of Florida, there is no basis on which Petitioner’s

    trial counsel can be deemed constitutionally ineffective. See

    Strickland, supra.

          “By its terms § 2254(d) bars relitigation of any claim

    ‘adjudicated on the merits’ in state court, subject only to the

    exceptions in §§ 2254(d)(1) and (d)(2).” Richter, 131 S.Ct. at

    784. Further, the Supreme Court has made it clear that under

    Section 2254(d)(1), it is not enough to demonstrate that a state

    court’s decision is “incorrect or erroneous”; rather, only a

    showing that the decision was “objectively unreasonable” will

    entitle a petitioner to relief under the AEDPA. Wiggins, 539

    U.S. at 520-521, 123 S.Ct. at 2535. As set out above, Petitioner

    cannot “show that the state court’s ruling on the claim being

    presented in federal court was so lacking in justification that

    there was an error well understood and comprehended in existing

    law   beyond   any   possibility      for    fairminded   disagreement.”

    Richter, supra. Accordingly, for those reasons set out above, as

    well as in the post-conviction court’s order denying 3.850

    relief and affirmed by the Florida First DCA, Petitioner cannot

    establish that the Florida courts’ denial of post-conviction

    relief   was   contrary   to   or   an     unreasonable   application   of

    Strickland, or that it rest upon an unreasonable determination


                                        -51-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 52 of 67 PageID 728



    of the facts in light of the evidence presented. See Wiggins;

    Miller-El; Williams; Strickland, supra; 28 U.S.C. § 2254(d).

          Accordingly,    subclaim     two    of    Ground   3   of   the   amended

    petition for writ of habeas corpus must be denied. 28 U.S.C. §

    2254(d).

                                      Ground 4

          In this final ground, Petitioner seeks relief in federal

    habeas   based   on   a   claim   that    his    trial   counsel    “rendered

    ineffective assistance by failing to object to the trial court’s

    jury instructions regarding whether Defendant Whittier actually

    carried a firearm.” (Doc. 6). Specifically, Petitioner contends

    that “the jury was not required to find ‘beyond a reasonable

    doubt’ that [he] ‘actually possessed’ a firearm, as required by

    the state and federal right to a jury trial and Apprendi v. New

    Jersey, 530 U.S. 466 (2000).” (Doc. 6). Petitioner’s Ground 4 in

    federal habeas is a verbatim reproduction of Ground 4 of the

    amended Florida Rule 3.850 post-conviction motion authored by

    collateral counsel and filed in the state circuit court on

    October 12, 2007. (Ex. 16).

          The circuit court, after ruling as a matter of state law

    that Petitioner’s motion was insufficient for lack of oath,

    alternatively denied Ground 4, as follows:

            In his fourth ground for relief, the Defendant
       alleges that trial counsel was ineffective for failing to
       object to the Court’s jury instruction regarding whether
       the Defendant actually carried a firearm. The Defendant

                                       -52-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 53 of 67 PageID 729



       claims that trial counsel should have objected because
       the jury was not required to find “beyond a reasonable
       doubt” that the Defendant “actually possessed” a firearm.
       (Defendant’s Amended Motion, at 11.)
            Prior to filing his initial brief on direct appeal,
       the Defendant raised this claim in a Motion to Correct
       Illegal Sentence filed pursuant to Rule 3.800(b)(2),
       Florida Rules of Criminal Procedure, which was denied on
       the merits on February 28, 2005. (Exhibits “T,”“U.”)
       Further, the Defendant’s argument could or should have
       been raised on direct appeal and is ths procedurally
       barred. Harvey v. Dugger, 656 So.2d 1253 (Fla. 1995);
       Cherry v. State, 659 So.2d 1069 (Fla. 1995). Thus, the
       Defendant’s ground four is procedurally barred and
       constitutes an abuse of process. Foster v. State, 614
       So.2d 455 (Fla. 1992); Ziegler v. State, 632 So.2d 48
       (Fla. 1993); Ragan v. State, 643 So.2d 1175 (Fla. 3d DCA
       1994). Thus, the Defendant’s fourth ground for relief is
       denied.

    (Ex. 19).

          Through collateral counsel, Petitioner filed a motion for

    rehearing in the circuit court wherein he observed without

    identifying any claim in particular that “the Court denied

    several of the Defendant’s claims because the claims were raised

    by the Defendant on direct appeal.” (Ex. 20). Petitioner argued

    that this was improper because the State had argued in its

    answer brief on direct appeal “that the claims were not properly

    preserved for appeal by trial counsel” and, in light of the

    First DCA having affirmed without opinion, it is unclear whether

    the First DCA agreed with the State; therefore, Petitioner

    contended that his post-conviction claims of ineffective counsel

    were properly raised. (Ex. 20). The circuit court’s denied

    rehearing,   explaining    only   that   “[a]fter   a   review   of   the



                                      -53-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 54 of 67 PageID 730



    pleadings, the Court does not find any points of law or fact

    that were overlooked in deciding the Defendant’s prior Motion.”

    (Ex. 21). Petitioner then appealed to the Florida First DCA.

    (Ex. 22).

          Through collateral counsel, Petitioner filed an initial

    brief in the appellate court in which he presented the summary

    denial of Ground 4 of his amended Rule 3.850 motion as a basis

    for relief. (Ex. 23, p.22-27). The First DCA affirmed per curiam

    without opinion, leaving above judgement of the state circuit

    court rejecting Petitioner’s claim as procedurally barred under

    Florida law as the last reasoned state court decision addressing

    Petitioner’s claim. (Ex. 27).

          The state court record confirms that Petitioner did raise

    this claim in the trial court by Rule 3.800(b)(2) motion and,

    following its denial, presented it to the First DCA as ISSUE IV

    of his initial brief on direct appeal. (Ex. 43; 44; 45, p.26-

    34). In the First DCA, Petitioner stated the issue presented, as

    follows:

       WHETHER THE TRIAL COURT ERRED IN DENYING APPELLANT’S RULE
       3.800(b)(2) MOTION ARGUING THAT THE FAILURE TO INSTRUCT
       THE JURY TO APPLY THE “BEYOND A REASONABLE DOUBT”
       STANDARD TO THE FIREARM FINDINGS VIOLATED APPRENDI v. NEW
       JERSEY?

    (Ex. 45, p.26-34). Thus, the state circuit court’s factual

    determination that Petitioner previously raised this claim on

    direct appeal is supported. See Miller-El, supra; 28 U.S.C. §



                                      -54-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 55 of 67 PageID 731



    2254(e).

          Accordingly, denied as procedurally barred by the state

    circuit court and affirmed per curiam on appeal, Ground 4 of the

    instant amended § 2254 petition is barred in federal habeas.

    Harmon v. Barton, 894 F.2d 1268, 1273 (11th Cir. 1990)(a state

    appellate court’s per curiam affirmation of a lower court’s

    finding of a procedural bar is a sufficiently clear and express

    statement of reliance on an independent and adequate state

    ground to bar consideration by the federal courts).

          In the alternative, while the State does not waive above-

    argued   position,   28   U.S.C.   §      2254(b)(3),   even   considering

    Petitioner’s claim of ineffective assistance of counsel on the

    merits, he is entitled to no relief in federal habeas. See

    Strickland, supra; 28 U.S.C. § 2254(b)(2).

          As set forth in the Amended Information, Count I alleged:

        * * * STEPHEN A. WHITTIER on the 17th day of July,
       2002, in the County of Duval and the State of Florida,
       did carry a firearm, to-wit: a shotgun, and did
       unlawfully by force, violence, assault, or putting in
       fear, take money or other property, to-wit: U.S.
       currency, the property of The Peoples First Community
       Bank, as owner or custodian, from the person or custody
       of Nadine Kwiatek, with the intent to permanently or
       temporarily deprive Nadine Kwiatek of the money or other
       property, and during the commission of the aforementioned
       robbery, the said STEPHEN A. WHITTIER did actually
       possess a firearm, contrary to the provisions of Sections
       812.13(2)(a) and 775.087, Florida Statutes.

    (Ex. 5)(underscore added). While robbery without a weapon is a

    second-degree felony, robbery with a firearm is “a felony of the


                                       -55-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 56 of 67 PageID 732



    first degree, punishable by imprisonment for a term of years not

    exceeding life ....” § 812.13(2)(a), (c), Fla.Stat. (2002).

           As relevant and as found by the jury, the verdict form

    reflects:

       VERDICT -COUNT I

           X       WE, THE JURY, FIND THE DEFENDANT GUILTY OF
                     ROBBERY, AS CHARGED IN THE INFORMATION.

                        1.   IF YOU FIND THE DEFENDANT GUILTY OF THIS
                             OFFENSE, YOU MUST CHOOSE ONE OF THE
                             FOLLOWING:

                                    X     WE, THE JURY, FIND THAT THE
                                        DEFENDANT ACTUALLY POSSESSED A
                                        FIREARM DURING THE COMMISSION
                                        OF THE ROBBERY.

                                         WE, THE JURY, FIND THAT THE
                                        DEFENDANT CARRIED A DEADLY
                                        WEAPON DURING THE COMMISSION OF
                                        THE ROBBERY.

                                          WE, THE JURY, FIND THAT THE
                                        DEFENDANT CARRIED A WEAPON
                                        DURING THE COMMISSION OF THE
                                        ROBBERY.

                                          WE, THE JURY, FIND THAT THE
                                        DEFENDANT DID NOT ACTUALLY
                                        POSSESS OR CARRY A FIREARM,
                                        DEADLY WEAPON OR WEAPON DURING
                                        THE COMMISSION OF THE ROBBERY.

       *       *    *

    (Ex. 7)(bold omitted). On Count I, Petitioner was sentenced to

    a term of 20-years’ imprisonment, including a mandatory minimum

    term of 10-years, to be followed by 10-years’ probation. (Ex. 8;

    42); §§ 775.082(3)(b); 775.087(2)(a)1.c., Fla.Stat. (2002).



                                          -56-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 57 of 67 PageID 733



          In Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348,

    147 L.Ed.2d 435 (2000), the Supreme Court held that “any fact

    that increases the penalty for a crime beyond the statutory

    maximum must be submitted to a jury, and proved beyond a

    reasonable doubt.” Id., 530 U.S. at 490. Under Florida law, “in

    order to apply the [firearm] enhancement provision of section

    775.087(2)(a)(1),    the   State    must    prove   actual   possession.”

    Bundrage v. State, 814 So.2d 1133, 1134 (Fla. 2d DCA 2002). Long

    before Apprendi was decided, “pursuant to the [Florida] supreme

    court’s decision in State v. Overfelt, 457 So.2d 1385 (Fla.

    1984),” Florida required the determination of actual possession

    of a firearm to be determined by jury. Bundrage, supra.

          Here,   Petitioner     does     not    contest   that    the   jury

    specifically found that he had actual possession of a firearm

    during the commission of the robbery, but contends that “the

    jury instructions failed to inform the jury that it must find

    beyond a reasonable doubt that [he] actually possessed a firearm

    in order to support the imposition of the firearm enhancement.”

    (Doc. 6; Ex. 45, p.26-34). Specifically, Petitioner alleges that

    the trial court’s instruction that the jury apply the beyond a

    reasonable doubt standard to the elements of the offense of

    robbery implied to the jury that it applied only to the elements

    of robbery to the exclusion of any other finding. (Doc. 6; Ex.

    45, p.26-34). It is on this basis that Petitioner contends trial



                                        -57-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 58 of 67 PageID 734



    counsel    was   ineffective      in   failing    to   object     to   the    jury

    instructions. (Doc. 6; Ex. 16).

          However, as discussed below, the trial record confirms that

    the   instructions        given   adequately     informed    jury      that    all

    material allegations were to be proved beyond a reasonable

    doubt. (Ex. 29, p.425-450; 42). While Petitioner has only quoted

    portions of the jury instructions in his amended petition, (Doc.

    6; Ex. 16, p.12-13; 45, p.29-30), the instructions given the

    jury must be considered, not in isolation, but as a whole in the

    context of the entire record. (Ex. 29, p.425-450; 42); see

    Estelle v. McGuire, 502 U.S. 62, 72, 112 S.Ct. 475, 482, 116

    L.Ed.2d 385 (1991); Smith v. State, 521 So. 2d 106, 108 (Fla.

    1988).    Nevertheless,      as   on   direct    appeal,    even    that     small

    portion Petitioner quoted in his amended Rule 3.850 motion and

    in the instant amended petition, conclusively refutes his claim.

    (Doc. 6; Ex. 16, p.12-13; 29, p.425-428; 45, p.29-30).

          Petitioner does not dispute that the record of the instant

    case shows that the trial court instructed the jury on the

    beyond a reasonable doubt standard with respect to each of the

    four elements provided in the statutory definition of “robbery.”

    (Doc.    6;   Ex.   16,    p.12-13;    29,    p.425-428;    45,    p.26-34);     §

    812.13(1), Fla.Stat. (2004). Furthermore, the record confirms

    that “beyond a reasonable doubt” was the only standard on which

    the jury was instructed. (Ex. 29, p.425-450). After specifically



                                           -58-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 59 of 67 PageID 735



    instructing the jury on the four elements defining “robbery”

    that it must find beyond a reasonable doubt, the trial court

    later instructed:

            The punishment provided by law for the crime of
       robbery is greater if in the course of committing the
       robbery the defendant carried some kind of weapon.

            *   *   *

            Therefore, if you find the defendant guilty of
       robbery you must then consider whether the state has
       further proved those aggravating circumstances and
       reflect this in your verdict.
            If you find that the defendant carried a firearm in
       the course of committing the robbery you should find him
       guilty of robbery with a firearm.

            *   *   *

    (Ex. 29, p.425-428)(bold and underscore added). Thus, in clear,

    easily understood language, the jury was instructed that the

    State’s burden remained beyond a reasonable doubt with respect

    to “those aggravating circumstances” and, if it were to find any

    such circumstance further proven, it should be reflected in its

    verdict.10 (Ex. 7; 29, p.425-428, 453-454).


       10
        Furthermore, with his entire defense strategy being to
 concede guilt to unarmed robbery and to contest only the fact of
 whether he was armed with a firearm when he committed that
 robbery, (Ex. 29, p.36, 38-39, 41-43, 148, 246-247, 332, 354,
 399, 404-405, 421), Petitioner’s counsel repeatedly argued to the
 jury in closing that the State had failed to carry its burden of
 proving this fact beyond a reasonable doubt. (Ex. 29, p.352-354,
 404-422); see Williams v. State, 400 So. 2d 542, 547 (Fla. 3d DCA
 1981)(“viewing the instructions and the verdict finding Williams
 guilty as charged in the information in the context of the issues
 presented by both sides below, that the judgment under review
 properly reflects the intent and finding of the jury.”)(citations
 omitted). Thus, counsel focused the jury’s attention on this one

                                      -59-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 60 of 67 PageID 736



          In addition, reinforcing its earlier admonitions, the trial

    court later instructed the jury:

            The defendant has entered a plea of not guilty.
       This means that you must presume or believe the defendant
       is innocent. The presumption stays with the defendant as
       to each material allegation of the information through
       each stage of the trial unless it has been overcome by
       the evidence to the exclusion of and beyond a reasonable
       doubt.

    (Ex. 29, p.433-435). Also, the trial court further instructed:

    “If you return a verdict of guilty it should be for the highest

    offense which has been proven beyond a reasonable doubt. If you

    find that no offense has been proven beyond a reasonable doubt

    then of course your verdict must be not guilty.” (Ex. 29,

    p.438). As the Florida Supreme Court noted in Smith, supra:

    “Despite any shortcomings, the standard jury instructions, as a

    whole, made it quite clear that the burden of proof was on the

    state to prove all the elements of the crime beyond a reasonable

    doubt.” Id. at 108.

          “[A] jury is presumed ... to follow its instructions.”

    Weeks v. Angelone, 528 U.S. 225, 226, 120 S.Ct. 727, 728, 145

    L.Ed.2d 727 (2000); see Francis v. Franklin, 471 U.S. 307, 324

    n.9, 105 S.Ct. 1965, 1976 n.9 (1985)(“[W]e adhere to the crucial

    assumption underlying our constitutional system of trial by jury

    that jurors carefully follow instructions.”); Carter v. Brown &

    Williamson Tobacco Corp., 778 So.2d 932, 942 (Fla. 2000). In


 disputed fact throughout the course of trial and in closing.

                                      -60-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 61 of 67 PageID 737



    denying Petitioner’s 3.800(b)(2) motion, the state trial court

    found that the jury instructions were adequate. (Ex. 44).

          “An attorney’s failure to raise a meritless argument ...

    cannot form the basis of a successful ineffective assistance of

    counsel claim because the result of the proceeding would not

    have been different had the attorney raised the issue.” United

    States v. Kimler, 167 F.3d 889, 893 (5th Cir. 1999); see Clark

    v. Collins, 19 F.3d 959, 966 (5th Cir. 1994)(“Failure to raise

    meritless objections is not ineffective lawyering; it is the

    very opposite.”); United States v. Winfield, 960 F.2d 970, 974

    (11th Cir. 1992). With the instructions given having adequately

    informed the jury of the applicable standard of proof, owing

    counsel’s performance the strong measure of deference that

    Strickland requires, it cannot be said that no reasonable lawyer

    in the circumstances would not have lodged the objection that

    Petitioner contends she should have. See id.; Rogers v. Zant, 13

    F.3d 384, 386 (11th Cir. 1994)(“Even if many reasonable lawyers

    would not have done as defense counsel did at trial, no relief

    can be granted on ineffectiveness grounds unless it is shown

    that no reasonable lawyer, in the circumstances, would have done

    so.”).

          “By its terms § 2254(d) bars relitigation of any claim

    ‘adjudicated on the merits’ in state court, subject only to the

    exceptions in §§ 2254(d)(1) and (d)(2).” Richter, 131 S.Ct. at



                                      -61-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 62 of 67 PageID 738



    784. Further, the Supreme Court has made it clear that under

    Section 2254(d)(1), it is not enough to demonstrate that a state

    court’s decision is “incorrect or erroneous”; rather, only a

    showing that the decision was “objectively unreasonable” will

    entitle a petitioner to relief under the AEDPA. Wiggins, 539

    U.S. at 520-521, 123 S.Ct. at 2535. As set out above, Petitioner

    cannot “show that the state court’s ruling on the claim being

    presented in federal court was so lacking in justification that

    there was an error well understood and comprehended in existing

    law   beyond   any   possibility        for    fairminded    disagreement.”

    Richter, supra. Accordingly, for those reasons set out above, as

    well as in the post-conviction court’s order denying 3.850

    relief and affirmed by the Florida First DCA, Petitioner cannot

    establish that the Florida courts’ denial of post-conviction

    relief   was   contrary    to    or   an     unreasonable   application     of

    Strickland, or that it rest upon an unreasonable determination

    of the facts in light of the evidence presented. See Wiggins;

    Miller-El; Williams; Strickland, supra; 28 U.S.C. § 2254(d).

          Accordingly,    on   the    merits,      Ground   4   of   the   amended

    petition for writ of habeas corpus must be denied. 28 U.S.C. §

    2254(d).



    WHEREFORE, Respondents respectfully request that this Honorable

    Court deny relief.



                                          -62-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 63 of 67 PageID 739



                                      Respectfully submitted,

                                      PAMELA JO BONDI
                                      ATTORNEY GENERAL


                                       /S/ Bryan Jordan
                                      BRYAN JORDAN
                                      ASSISTANT ATTORNEY GENERAL
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                                      [AGO# L10-1-14179]




                           CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the

    foregoing ANSWER TO PETITION FOR WRIT OF HABEAS CORPUS and index

    of exhibits have been furnished by U.S. Mail to Stephen Allen

    Whittier, DC# J27347, Tomoka Correctional Institution, 3950

    Tiger Bay Rd., Daytona Beach, FL 32124, this              28     day of

    December, 2012.


                                  /S/ Bryan Jordan
                                 Bryan Jordan
                                 Attorney for the State of Florida




                                      -63-
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 64 of 67 PageID 740



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION



        STEPHEN ALLEN WHITTIER,

                    Petitioner,
        v.                                     CASE NO.: 3:10-cv-166-J-34TEM

        SECRETARY, DEPT. OF CORR.,
        ET. AL.,

                    Respondents.




                (Exhibits Previously Submitted with Motion
         to Dismiss Petition for Writ of Habeas Corpus)(Doc. 16).

    1        Information, case number 02-8712-CF in the Circuit Court of
             Duval County, Florida

    2        Order adjudicating Petitioner incompetent and of commitment
             to Department of Children and Families

    3        Proceedings held November 6, 2003

    4        Order adjudicating Petitioner mentally competent, dated
             November 6, 2003

    5        Amended Information

    6        Petitioner’s motion to sever; Order granting severance

    7        Verdict forms

    8        Judgement and sentence; Order of probation

    9        Notice of direct appeal

    10       Decision and Mandate of the Florida First DCA on direct
             appeal

    11       Fla.R.Crim.P. 3.850 motion for post-conviction relief

    12       Motion for competency determination
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 65 of 67 PageID 741



    13    Motion for leave to amend Fla.R.Crim.P. 3.850 motion for
          post-conviction relief

    14    Motion for leave to amend Fla.R.Crim.P. 3.850 motion for
          post-conviction relief

    15    Motion for leave to amend Fla.R.Crim.P. 3.850 motion for
          post-conviction relief

    16    Amended   Fla.R.Crim.P.    3.850   motion   for   post-conviction
          relief

    17    Motion to direct State to file a response to Amended
          Fla.R.Crim.P. 3.850 motion for post-conviction relief

    18    Order denying motion for competency determination

    19    Order denying Amended Fla.R.Crim.P. 3.850 motion for post-
          conviction relief (attached exhibits “O”, “P”, and “Q”
          omitted)

    20    Motion for rehearing of order denying Amended Fla.R.Crim.P.
          3.850 motion for post-conviction relief

    21    Order denying motion for rehearing of order denying Amended
          Fla.R.Crim.P. 3.850 motion for post-conviction relief

    22    Notice of appeal of denial of amended Fla.R.Crim.P. 3.850
          motion for post-conviction relief

    23    Initial brief on Fla.R.Crim.P. 3.850 post-conviction appeal

    24    State’s Fla.R.App.P. 9.141(b) notice of no answer brief on
          Fla.R.Crim.P. 3.850 post-conviction appeal

    25    Order of the Florida First DCA directing the State to show
          cause pursuant to Toler v. State, 493 So. 2d 489 (Fla. 1st
          DCA 1986); State’s response to order to show cause

    26    Reply brief on Fla.R.Crim.P. 3.850 post-conviction

    27    Decision and Mandate of the Florida First                 DCA   on
          Fla.R.Crim.P. 3.850 post-conviction appeal

    28    Motion for rehearing on Fla.R.Crim.P. 3.850 post-conviction
          appeal; Order of the Florida First DCA denying rehearing
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 66 of 67 PageID 742



      (Additional Exhibit submitted with Respondents’ Response to
     Petitioner’s Third Motion to Supplement the Record)(Doc. 35).

    29    Trial proceedings held September 14 and 15, 2004


                      (Additional Exhibits to Answer
                  to Petition for Writ of Habeas Corpus)

    29A   Trial excerpt (corrected placement of sidebar conference)

    30    Arrest report

    31    State’s supplemental notice of discovery of August 16, 2002

    32    Orders appointing expert to examine           Petitioner,   dated
          August 28, 2002 and September 10, 2002

    33    Report of Dr. Larry Neidigh, Ph.D., dated September 11,
          2002

    34    Notice of discharge, Florida State Hospital (Omitted)

    35    Order appointing expert, Dr. Ernest Miller, to examine
          Petitioner

    36    Order appointing     expert, Dr. Umesh Mhatre, to examine
          Petitioner

    37    Order appointing expert, Dr.         Harry   Krop,    to   examine
          Petitioner, dated March 4, 2004

    38    Petitioner’s motion for continuance; Order granting

    39    Proceedings on Petitioner’s motion to sever and State’s
          first motion in limine held June 1 and 29, 2004

    40    State’s first motion in limine filed June 1, 2004; Order
          granting

    41    Petitioner’s motion for new trial filed September 28, 2004;
          Order denying

    42    Sentencing proceedings held November 1 and 8, 2004

    43    Petitioner’s Fla.R.Crim.P. 3.800(b)(2) motion to correct
          sentencing error
Case 3:10-cv-00166-MMH-JBT Document 40 Filed 12/28/12 Page 67 of 67 PageID 743



    44    Order denying Fla.R.Crim.P. 3.800(b)(2) motion

    45    Initial brief on direct appeal

    46    Answer brief on direct appeal

    47    Reply brief on direct appeal

    48    Jones v. Sec’y, Fla. Dept. of Corr., 2012 WL 6028995 (11th
          Cir. Dec. 5, 2012)(unpublished)

    49    Fla.R.Crim.P. 3.850 motion for post-conviction relief filed
          June 29, 2012

    50    Order denying June 29, 2012 Rule 3.850 motion for post-
          conviction relief

    51    Notice of appeal from order denying June 29, 2012 Rule
          3.850 motion

    52    Initial brief on appeal from order denying June 29, 2012
          Rule 3.850 motion

    53    State’s notice of no answer brief on appeal from order
          denying June 29, 2012 Rule 3.850 motion

    54    Docket, Florida First DCA case number 1D12-4895
